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           a. I understood that I was investing in 6217 S. Dorchester Avenue. My funds would
              be tied to that property and that property only.

           b. I understood that my funds were going to be used, along with the funds of other
              investors, to purchase and renovate 6217 S. Dorchester Avenue.

           c. I understood that the $3.65 million “sale price” listed in the prospectus
              represented the amount Equitybuild would pay to purchase and renovate 6217 S.
              Dorchester Avenue. I was told that this price was well below market.

           d. I further understood that, once Equitybuild finished renovating the building and
              raising the rents, the property would be refinanced and I would receive my
              principal back.

           e. I also understood that the monthly interest payments I was to receive would be
              funded by the rent payments made by tenants of 6217 S. Dorchester Avenue.

   9. No one told me that Equitybuild would be taking fees out of the funds that I invested. In
      considering whether to invest, it would be important for me to know that Equitybuild
      would be taking fees from my investment.

   10. I invested $50,500 with Equitybuild in February 2017. In return, I was to receive a 16%
      interest rate for 18 months. My principal was to be returned to me at the end of the 18
      month term, i.e., in August of 2018. A copy of the promissory note, mortgage, and
      servicing agreement containing the terms of my investment are attached here as Exhibit
      B.

   11. I decided to invest with Equitybuild, in part, because of its perfect track record. Another
      reason I decided to invest with Equitybuild was because my investment was tied to and
      secured by a single piece of real estate.

   12. Yet another reason I decided to invest with Equitybuild was the fact that the Cohens
      portrayed themselves – in various marketing materials that I reviewed – as moral and
      spiritual people. As a moral and spiritual person, that appealed to me.


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   13. I took out a home equity loan in order to make my Equitybuild investment. I felt
      comfortable taking out the home equity loan because the rate on the home equity loan
      was lower than the rate of return that Equitybuild had promised me.

   14. The Equitybuild salesperson I spoke to knew that I had taken out a home equity loan in
      order to make my investment, because I told him.

   15. I received my expected interest payments until May of 2018.

   16. However, I did not receive the information regarding 6217 S. Dorchester that I expected
      to receive. Even though Equitybuild told me that I would receive quarterly updates about
      the status of 6217 S. Dorchester, I did not receive any information about the property.
      Finally, within the last month, after multiple requests, I received a one-page status report
      about the property. While the report contained much less information than I expected, it
      indicated that the property was doing well. That status report is attached as Exhibit C.

   17. After I invested in 6217 S. Dorchester, I received a number of emails from Equitybuild
      asking me to invest in other properties. These emails always made it sound like you
      would have to act fast to get in on the investment.

   18. Later on, I received an email soliciting an investment in a different kind of Equitybuild
      investment, where investors invested in equity in a number of properties, through a fund.
      I was told this investment was only for accredited investors. I am not an accredited
      investor. But I wasn’t interested in the investment, anyway.

   19. I decided not to invest any more money with Equitybuild until I could verify that I
      received my principal and my expected returns for my first investment.

   20. I did not receive my 16% interest payment in May of 2018. Instead, I received a 6%
      interest rate. A copy of my May statement is attached here as Exhibit D.

   21. If I knew that my interest rate could be unilaterally adjusted down by Equitybuild, I never
      would have invested. A 6% return is not even enough to cover the payments that I have



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      to make on my home equity loan. If I receive only 6% returns, I am in jeopardy of losing
      my home.

   22. On May 24, 2018, I received an email from Equitybuild. The email explained that
      Equitybuild had a debt load that was not sustainable and that Equitybuild had “no choice”
      but to restructure. It said that Equitybuild was “restructuring” my note payment down to
      6%. A true and correct copy of that email is attached as Exhibit E.

   23. The May 24th email also explained that Equitybuild had been on the brink of bankruptcy
      in late-2015 due to some issues it had had with a contractor named G-Slow. This was the
      first time that I had ever heard of Equitybuild’s past issues with G-Slow, or the fact that
      Equitybuild had been on the brink of bankruptcy in 2015. If I would have known about
      these issues, or that Equitybuild would lower my interest payments, I would never have
      invested with Equitybuild.

   24. In any event, it did not seem right to me that the G-Slow issues would impact my
      investment at all. 6217 S. Dorchester was purchased after 2015. Also, according to the
      status report I received and information from an Equitybuild representative, 6217 S.
      Dorchester was actually performing well. If my investment was tied only to 6217 S.
      Dorchester Avenue, as had been described to me, rather than Equitybuild as a whole, then
      why should my investment have been impacted by Equitybuild’s losses? If I would have
      known that my investment was tied to Equitybuild in general, rather than 6217 S.
      Dorchester in particular, then I never would have invested.

   25. After I received the May 24th email, I contacted my Equitybuild sales representative. He
      told me he did not know what was going on.

   26. After that, I contacted John Allred, another Equitybuild employee. Allred informed me
      that Equitybuild was focused on repaying investors who were continuing to supply
      Equitybuild with new funds. As a one-time investor, I would not receive priority when it
      came to repayment.

   27. I did not receive any interest payment at all in June or July.


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                      EXHIBIT A
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      Purchase Info                                                                                                 Income-Bridge Loan Period                          Monthly                     13 Months
      Purchase Price                                                     $              3,400,000                   Projected Income                          $                  27,533 $                  357,935
      Financed Rehab Cost                                                $                250,000
      Total Capitalized Cost                                             $              3,650,000
      -Less: Down Payment                                                $                219,000                   Expenses-Bridge Loan Period                        Monthly                     13 Months
      Bridge Loan                                                        $              3,431,000                   Projected Expenses                        $                  (8,648) $                 (112,424)
      Projected Capital Requirement                                      $                577,625
      Square Feet                                                                           22,368
      Cost per Square Foot                                               $                  152.00                  Net Performance-Bridge Loan                        Monthly                     13 Months
      Monthly Rent per Square Foot                                       $                     1.23                 Net Operating Income                      $                  18,886 $                  245,512
      Number of Units                                                                            25                 - Loan Payments                           $                 (42,888) $                 (557,538)
      Cost per Unit                                                      $                136,000                   =Cash Flow                                $                 (24,002) $                 (312,026)
      Stabilized Market Value Assumption                                 $              4,273,234
      Current Average Monthly Rent per Unit                              $                     969
      Stabilized Average Monthly Rent per Unit                           $                   1,444                  Buying Costs - Bridge Loan                                                     13 Months
                                                                                                                    Origination Costs                                            0.00% $                            0
                                                                                                                    First Year Net Private Money Costs                                     $               312,026
      Bridge Loan Analysis                                                                                          Bridge Loan Costs                                                      $               312,026
      Loan-To-Cost Ratio                                                                   94.00%
      Loan-To-Value Ratio                                                                  80.29%                   Refinance Costs From Stabilized Market Value Assumption
      Loan Amount                                                         $             3,431,000                   Refinance period                                                  13
      Loan Type                                                                                  IO                 Stabilized Market Value                   $              4,273,234
      Term (months)                                                                              13                 Loan Amount                               $              3,418,587
      Interest Rate                                                                        15.00%                   Loan to Value                                               80.00%
      Bridge Loan Payment                                  annual         $               514,650                   Loan Type                                               Amortizing
                                                           month          $                 42,888                  Term (months)                                                   360
                                                                                                                    Interest Rate                                                4.25%
                                                                                                                    Annual Mortgage Payment                   $                201,809
                                                                                                                    Closing Costs                                                1.00% $                    (34,186)
                                                                                                                    Bridge Loan Payoff                                                     $            (3,431,000)
                                                                                                                    Total Refinance Costs                                                  $            (3,465,186)
                                                                                                                    - Loan Proceeds                                                        $             3,418,587
                                                                                                                    Cash Required To Close                                                 #DIV/0!




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                                                                                                                                                                Unit             #      Current Avg    Proforma    Proforma         %        Effective    Annual
      Stabilization Summary Based On 02/01/17 Closing
                                                                                                                                                                Type         Units         Rent       Market Rent Subsidy Rent   Subsidy       Rent       Income
      Total Capital Requirement                     $     577,625                                                                                               2x1            22          $955         $1,100      $1,200         50%        $1,150     $303,600
      Purchase Price                                $ 3,400,000                                                                                                Retail            1        $1,500        $9,000        $0            0%        $9,000     $108,000
      Financed Rehab Cost                           $     250,000                                                                                               1x1              2         $850          $800       $1,000         50%         $900       $21,600
      Total Capitalized Cost                        $ 3,650,000
      Down Payment                                  $     219,000
      Loan Amount - Bridge Loan                     $ 3,431,000                                                                                             Total Rental       25          $969         $1,392      $1,136         48%        $1,444     $433,200

      Initial Capital Requirement                   $     219,000                                                                                           Other Income
      Monthly Bridge Payment At 15.00%              $      42,888                                                                                            Move In Fees                                                                                 $3,063
      Negative Cash Flow Over 13 Months             $     312,026                                                                                            Parking                                                                                        $0
      Stabilized Loan At 6.5% Cap Rate              $ 3,418,587                                                                                              Laundry                                                                                        $0
      Refinance Costs At 1.%                        $      34,186                                                                                            Storage                                                                                        $0
      Cash Needed To Close                          $      46,599                                                                                           Total Other Income                                                                            $3,063
      Net Capital Commitment (Capital Basis)        $     577,625                                                                                           Total Potential Income                                                                       $436,263



                       Unit                Unit          Current    Need     Current   Target   Month 1     Month 2     Month 3     Month 4     Month 5       Month 6       Month 7      Month 8        Month 9    Month 10      Month 11    Month 12     Year 1
                     Address               Type         Lease Exp   Repair    Rent     Rent      Feb-17      Mar-17      Apr-17     May-17       Jun-17        Jul-17        Aug-17       Sep-17        Oct-17      Nov-17        Dec-17      Jan-18       Total
                     1408 - 1              2x1           6/30/14              $900     $1,150     $900       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,250
                     1408 - 2              2x1           1/31/17              $900     $1,150     $900       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,250
                     1408 - 3              2x1          12/31/16              $900     $1,150     $900       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,250
                     1410 - 1              2x1           5/31/15              $850     $1,150     $850       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,200
                     1410 - 2              2x1          12/31/16              $900     $1,150     $900       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,250

                     1410 - 3              2x1           9/30/16              $900     $1,150     $900       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,250

                      1414                 Retail        3/31/17             $1,500    $9,000    $1,500      $1,500      Vacant      Vacant      $9,000        $9,000        $9,000       $9,000        $9,000      $9,000        $9,000      $9,000      $75,000

                     6217 - 1              1x1           9/30/16               $0      $900        $0        Vacant      Vacant       $900        $900          $900          $900         $900          $900        $900          $900        $900       $8,100

                     6217 - 2              2x1           6/30/16              $825     $1,150     $825       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,175

                     6217 - 3              2x1           7/28/17             $1,093    $1,118    $1,093      $1,093      $1,093      $1,093      $1,093        $1,118        $1,118       $1,118        $1,118      $1,118        $1,118      $1,118      $13,291

                     6219 - 1              2x1           9/30/15             $1,000    $1,150    $1,000      Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,350

                     6219 - 2              2x1           9/30/16              $875     $1,150     $875       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,225

                     6219 - 3              2x1           1/31/17              $950     $1,150     $950       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,300

                     6221 - 1              1x1           5/31/13              $850     $875       $850        $875        $875        $875        $875          $875          $875         $875          $875        $875          $875        $875       $10,475

                     6221 - 2              2x1           9/30/16               $0      $1,150      $0        Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $10,350

                     6223 - 1              2x1           9/30/16              $870     $1,150     $870       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,220

                     6223 - 2              2x1          12/30/15              $950     $1,150     $950       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,300

                     6223 - 3              2x1           6/30/15             $1,000    $1,150    $1,000      Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,350

                     6225 - 1              2x1           4/30/17             $1,100    $1,125    $1,100      $1,100      $1,100      $1,125      $1,125        $1,125        $1,125       $1,125        $1,125      $1,125        $1,125      $1,125      $13,425

                     6225 - 2              2x1           4/30/17             $1,020    $1,150    $1,020      $1,020      $1,020      Vacant      Vacant        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,110

                     6225 - 3              2x1           7/31/17             $1,025    $1,150    $1,025      $1,025      $1,025      $1,025      $1,025        $1,025        Vacant       Vacant        $1,150      $1,150        $1,150      $1,150      $10,750

                     6227 - 1              2x1          12/31/16              $950     $1,150     $950       Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,300

                     6227 - 2              2x1           1/31/16             $1,050    $1,150    $1,050      Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,400

                     6227 - 3              2x1           8/31/16             $1,000    $1,150    $1,000      Vacant      Vacant      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $11,350

      Scheduled Income                                                                          $21,408      $6,613      $5,113     $24,568     $33,568       $34,743       $33,718      $33,718        $34,868     $34,868      $34,868     $34,868     $332,921
      Proforma Economic Occupancy                                                                100%         24%         15%         71%         97%          100%           97%          97%           100%        100%         100%        100%         68%
      Minus Uncollectable Expense                                                                $(642)      $(198)      $(153)      $(737)     $(1,007)      $(1,042)      $(1,012)     $(1,012)      $(1,046)     $(1,046)     $(1,046)    $(1,046)     $(9,988)
      Other Income                                                                                $255        $64         $53         $234        $245          $255          $245         $245          $255        $255          $255        $255       $2,616
      Projected Income                                                                          $21,021      $6,478      $5,013     $24,065     $32,806       $33,956       $32,951      $32,951        $34,077     $34,077      $34,077     $34,077     $325,549

      Operating Expenses                                                                        Month 1     Month 2     Month 3     Month 4     Month 5       Month 6       Month 7      Month 8        Month 9    Month 10      Month 11    Month 12      Total
      Leasing Commissions                                                                          $0         $(84)        $0       $(5,113)    $(2,250)       $(396)          $0           $0          $(288)        $0            $0          $0        $(8,130)
      Real Estate Taxes                                                                         $(1,831)    $(1,831)    $(1,831)    $(1,831)    $(1,831)      $(1,831)      $(1,831)     $(1,831)      $(1,831)     $(1,831)     $(1,831)    $(1,831)    $(21,968)
      Insurance                                                                                  $(716)      $(716)      $(716)      $(716)      $(716)        $(716)        $(716)       $(716)        $(716)       $(716)       $(716)      $(716)      $(8,591)
      Gas/Heat                                                                                  $(1,389)     $(379)      $(316)     $(1,389)    $(1,453)      $(1,516)      $(1,453)     $(1,453)      $(1,516)     $(1,516)     $(1,516)    $(1,516)    $(15,410)
      Electric                                                                                   $(212)       $(58)       $(48)      $(212)      $(222)        $(231)        $(222)       $(222)        $(231)       $(231)       $(231)      $(231)      $(2,351)
      Water                                                                                      $(556)      $(152)      $(126)      $(556)      $(581)        $(606)        $(581)       $(581)        $(606)       $(606)       $(606)      $(606)      $(6,165)
      Trash                                                                                      $(183)       $(50)       $(42)      $(183)      $(192)        $(200)        $(192)       $(192)        $(200)       $(200)       $(200)      $(200)      $(2,033)
      Snow Removal/Landscaping                                                                   $(183)       $(50)       $(42)      $(183)      $(192)        $(200)        $(192)       $(192)        $(200)       $(200)       $(200)      $(200)      $(2,033)
      Pest Control                                                                                $(92)       $(25)       $(21)       $(92)       $(96)        $(100)         $(96)        $(96)        $(100)       $(100)       $(100)      $(100)      $(1,017)
      Legal                                                                                       $(92)       $(25)       $(21)       $(92)       $(96)        $(100)         $(96)        $(96)        $(100)       $(100)       $(100)      $(100)      $(1,017)
      Repairs & Maintenance                                                                     $(1,146)    $(1,146)    $(1,146)    $(1,146)    $(1,146)      $(1,146)      $(1,146)     $(1,146)      $(1,146)     $(1,146)     $(1,146)    $(1,146)    $(13,750)
      G&A                                                                                        $(417)      $(417)      $(417)      $(417)      $(417)        $(417)        $(417)       $(417)        $(417)       $(417)       $(417)      $(417)      $(5,000)
      Management Fee 5%                                                                         $(1,051)     $(324)      $(251)     $(1,203)    $(1,640)      $(1,698)      $(1,648)     $(1,648)      $(1,704)     $(1,704)     $(1,704)    $(1,704)    $(16,277)
      Projected Expenses                                                                        $(7,867)    $(5,255)    $(4,975)    $(13,132)   $(10,830)     $(9,156)      $(8,587)     $(8,587)      $(9,054)     $(8,766)     $(8,766)    $(8,766)    $(103,742)
      % Income                                                                                    37%         81%         99%         55%         33%           27%           26%          26%           27%         26%           26%         26%         32%
      Net Operating Income                                                                      $13,154      $1,223       $38       $10,933     $21,976       $24,800       $24,364      $24,364        $25,023     $25,311      $25,311     $25,311     $221,807

      Capital Analysis                                                                          Month 1     Month 2     Month 3     Month 4     Month 5       Month 6       Month 7      Month 8        Month 9    Month 10      Month 11    Month 12      Total
      Loan Type                                                                                    BL          BL          BL          BL          BL            BL            BL           BL            BL          BL            BL          BL          BL
      Cash Flow Before Debt Service                                                             $13,154      $1,223       $38       $10,933     $21,976       $24,800       $24,364      $24,364        $25,023     $25,311      $25,311     $25,311     $221,807
      - Mortgage Payments                                                                       $(42,888)   $(42,888)   $(42,888)   $(42,888)   $(42,888)    $(42,888)      $(42,888)   $(42,888)      $(42,888)   $(42,888)     $(42,888)   $(42,888)   $(514,650)
      Cash Flow After Debt Service                                                              $(29,734)   $(41,664)   $(42,850)   $(31,955)   $(20,912)    $(18,088)      $(18,523)   $(18,523)      $(17,864)   $(17,577)     $(17,577)   $(17,577)   $(292,843)
      Total Current Capital Contribution                                                        $248,734    $290,398    $333,248    $365,203    $386,114      $404,202      $422,725     $441,249      $459,113    $476,689      $494,266    $511,843    $511,843




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            Case: 1:18-cv-05587 Document #: 5-21 Filed: 08/15/18 Page 23 of 83 PageID #:302

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                                                                                                                                                                Unit             #      Current Avg    Proforma    Proforma         %        Effective    Annual
      Stabilization Summary Based On 02/01/17 Closing
                                                                                                                                                                Type         Units         Rent       Market Rent Subsidy Rent   Subsidy       Rent       Income
      Total Capital Requirement                     $     577,625                                                                                               2x1            22          $955         $1,100      $1,200         50%        $1,150     $303,600
      Purchase Price                                $ 3,400,000                                                                                                Retail            1        $1,500        $9,000        $0            0%        $9,000     $108,000
      Financed Rehab Cost                           $     250,000                                                                                               1x1              2         $850          $800       $1,000         50%         $900       $21,600
      Total Capitalized Cost                        $ 3,650,000
      Down Payment                                  $     219,000
      Loan Amount - Bridge Loan                     $ 3,431,000                                                                                             Total Rental       25          $969         $1,392      $1,136         48%        $1,444     $433,200

      Initial Capital Requirement                   $     219,000                                                                                           Other Income
      Monthly Bridge Payment At 15.00%              $      42,888                                                                                            Move In Fees                                                                                 $3,063
      Negative Cash Flow Over 13 Months             $     312,026                                                                                            Parking                                                                                        $0
      Stabilized Loan At 6.5% Cap Rate              $ 3,418,587                                                                                              Laundry                                                                                        $0
      Refinance Costs At 1.%                        $      34,186                                                                                            Storage                                                                                        $0
      Cash Needed To Close                          $      46,599                                                                                           Total Other Income                                                                            $3,063
      Net Capital Commitment (Capital Basis)        $     577,625                                                                                           Total Potential Income                                                                       $436,263



                       Unit                Unit          Current    Need     Current   Target   Month 13    Month 14    Month 15    Month 16    Month 17      Month 18      Month 19     Month 20      Month 21    Month 22      Month 23    Month 24     Year 2
                     Address               Type         Lease Exp   Repair    Rent     Rent      Feb-18      Mar-18      Apr-18     May-18       Jun-18        Jul-18        Aug-18       Sep-18        Oct-18      Nov-18        Dec-18      Jan-19       Total
                     1408 - 1              2x1           6/30/14              $900     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025
                     1408 - 2              2x1           1/31/17              $900     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025
                     1408 - 3              2x1          12/31/16              $900     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025
                     1410 - 1              2x1           5/31/15              $850     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025
                     1410 - 2              2x1          12/31/16              $900     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                     1410 - 3              2x1           9/30/16              $900     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                      1414                 Retail        3/31/17             $1,500    $9,000    $9,000      $9,000      $9,000      $9,000      $9,025        $9,025        $9,025       $9,025        $9,025      $9,025        $9,025      $9,025     $108,200

                     6217 - 1              1x1           9/30/16               $0      $900       $900        $900        $900        $925        $925          $925          $925         $925          $925        $925          $925        $925       $11,025

                     6217 - 2              2x1           6/30/16              $825     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                     6217 - 3              2x1           7/28/17             $1,093    $1,118    $1,118      $1,118      $1,118      $1,118      $1,118        $1,143        $1,143       $1,143        $1,143      $1,143        $1,143      $1,143      $13,591

                     6219 - 1              2x1           9/30/15             $1,000    $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                     6219 - 2              2x1           9/30/16              $875     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                     6219 - 3              2x1           1/31/17              $950     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                     6221 - 1              1x1           5/31/13              $850     $875       $875        $900        $900        $900        $900          $900          $900         $900          $900        $900          $900        $900       $10,775

                     6221 - 2              2x1           9/30/16               $0      $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                     6223 - 1              2x1           9/30/16              $870     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                     6223 - 2              2x1          12/30/15              $950     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                     6223 - 3              2x1           6/30/15             $1,000    $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                     6225 - 1              2x1           4/30/17             $1,100    $1,125    $1,125      $1,125      $1,125      $1,150      $1,150        $1,150        $1,150       $1,150        $1,150      $1,150        $1,150      $1,150      $13,725

                     6225 - 2              2x1           4/30/17             $1,020    $1,150    $1,150      $1,150      $1,150      $1,150      $1,150        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $13,975

                     6225 - 3              2x1           7/31/17             $1,025    $1,150    $1,150      $1,150      $1,150      $1,150      $1,150        $1,150        $1,150       $1,150        $1,175      $1,175        $1,175      $1,175      $13,900

                     6227 - 1              2x1          12/31/16              $950     $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                     6227 - 2              2x1           1/31/16             $1,050    $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

                   6227 - 3                2x1           8/31/16             $1,000    $1,150    $1,150      $1,150      $1,150      $1,175      $1,175        $1,175        $1,175       $1,175        $1,175      $1,175        $1,175      $1,175      $14,025

      Scheduled Income                                                                          $34,868     $34,893     $34,893     $35,368     $35,393       $35,443       $35,443      $35,443        $35,468     $35,468      $35,468     $35,468     $423,616
      Proforma Economic Occupancy                                                                 95%         95%         95%         95%         95%           95%           95%          95%           95%         95%           95%         95%         95%
      Minus Uncollectable Expense                                                                $(994)      $(994)      $(994)     $(1,008)    $(1,009)      $(1,010)      $(1,010)     $(1,010)       $(1,011)    $(1,011)     $(1,011)    $(1,011)    $(12,073)
      Other Income                                                                                $255        $255        $255        $255        $255          $255          $255         $255          $255        $255          $255        $255       $3,063
      Projected Income                                                                          $32,386     $32,409     $32,409     $32,847     $32,870       $32,916       $32,916      $32,916        $32,939     $32,939      $32,939     $32,939     $393,425

      Operating Expenses                                                                        Month 13    Month 14    Month 15    Month 16    Month 17      Month 18      Month 19     Month 20      Month 21    Month 22      Month 23    Month 24     Year 2
      Leasing Commissions                                                                          $0        $(109)        $0       $(2,100)     $(111)        $(222)          $0           $0          $(111)        $0            $0          $0        $(2,652)
      Real Estate Taxes                                                                         $(1,831)    $(1,831)    $(1,831)    $(1,831)    $(1,831)      $(1,831)      $(1,831)     $(1,831)      $(1,831)     $(1,831)     $(1,831)    $(1,831)    $(21,968)
      Insurance                                                                                  $(716)      $(716)      $(716)      $(716)      $(716)        $(716)        $(716)       $(716)        $(716)       $(716)       $(716)      $(716)      $(8,591)
      Gas/Heat                                                                                  $(1,516)    $(1,516)    $(1,516)    $(1,516)    $(1,516)      $(1,516)      $(1,516)     $(1,516)      $(1,516)     $(1,516)     $(1,516)    $(1,516)    $(18,189)
      Electric                                                                                   $(231)      $(231)      $(231)      $(231)      $(231)        $(231)        $(231)       $(231)        $(231)       $(231)       $(231)      $(231)      $(2,775)
      Water                                                                                      $(606)      $(606)      $(606)      $(606)      $(606)        $(606)        $(606)       $(606)        $(606)       $(606)       $(606)      $(606)      $(7,276)
      Trash                                                                                      $(200)      $(200)      $(200)      $(200)      $(200)        $(200)        $(200)       $(200)        $(200)       $(200)       $(200)      $(200)      $(2,400)
      Snow Removal/Landscaping                                                                   $(200)      $(200)      $(200)      $(200)      $(200)        $(200)        $(200)       $(200)        $(200)       $(200)       $(200)      $(200)      $(2,400)
      Pest Control                                                                               $(100)      $(100)      $(100)      $(100)      $(100)        $(100)        $(100)       $(100)        $(100)       $(100)       $(100)      $(100)      $(1,200)
      Legal                                                                                      $(100)      $(100)      $(100)      $(100)      $(100)        $(100)        $(100)       $(100)        $(100)       $(100)       $(100)      $(100)      $(1,200)
      Repairs & Maintenance                                                                     $(1,146)    $(1,146)    $(1,146)    $(1,146)    $(1,146)      $(1,146)      $(1,146)     $(1,146)      $(1,146)     $(1,146)     $(1,146)    $(1,146)    $(13,750)
      G&A                                                                                        $(417)      $(417)      $(417)      $(417)      $(417)        $(417)        $(417)       $(417)        $(417)       $(417)       $(417)      $(417)      $(5,000)
      Management Fee 5%                                                                         $(1,619)    $(1,620)    $(1,620)    $(1,642)    $(1,643)      $(1,646)      $(1,646)     $(1,646)      $(1,647)     $(1,647)     $(1,647)    $(1,647)    $(19,671)
      Projected Expenses                                                                        $(8,682)    $(8,792)    $(8,683)    $(10,805)   $(8,816)      $(8,930)      $(8,708)     $(8,708)      $(8,820)     $(8,709)     $(8,709)    $(8,709)    $(107,072)
      % Income                                                                                    27%         27%         27%         33%         27%           27%           26%          26%           27%         26%           26%         26%         27%
      Net Operating Income                                                                      $23,704     $23,617     $23,726     $22,042     $24,053       $23,986       $24,208      $24,208        $24,119     $24,230      $24,230     $24,230     $286,353

      Capital Analysis                                                                          Month 13    Month 14    Month 15    Month 16    Month 17      Month 18      Month 19     Month 20      Month 21    Month 22      Month 23    Month 24     Year 2
      Loan Type                                                                                    BL        Conv        Conv        Conv        Conv          Conv          Conv         Conv           Conv        Conv         Conv        Conv         Conv
      Cash Flow Before Debt Service                                                             $23,704     $23,617     $23,726     $22,042     $24,053       $23,986       $24,208      $24,208        $24,119     $24,230      $24,230     $24,230     $286,353
      - Mortgage Payments                                                                       $(42,888)   $(16,817)   $(16,817)   $(16,817)   $(16,817)    $(16,817)      $(16,817)   $(16,817)      $(16,817)   $(16,817)     $(16,817)   $(16,817)   $(227,879)
      Cash Flow After Debt Service                                                              $(19,183)    $6,800      $6,909      $5,225      $7,236        $7,169        $7,390       $7,390        $7,301      $7,412        $7,412      $7,412      $58,474
      Total Current Capital Contribution                                                        $531,026    $531,026    $531,026    $531,026    $531,026      $531,026      $531,026     $531,026      $531,026    $531,026      $531,026    $531,026    $531,026




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                                  @B/:6AA21 @B/720A A< A52 =<@@6/696AF <3 2??<?@ <:6@@6<;@ 05.;42 <3 =?602 ?2;A.9 <? <AA52? 0<;16A6<;@ =?6<? @.92 92.@2 <? J;.;06;4 <? D6A51?.D.9 D6A5<BA ;<A602
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          Assumptions

          Vacancy At 30% Yearly Turnover And 2 Months Average Absorption               5.00%

          Income Inflation Rate                                                        3.00%

          Expense Inflation Rate                                                       2.50%

          Property Management Fee                                                      5.00%

          Bad Debt/Uncollectable Expense                                               3.00%

          Selling Costs                                                                5.00%



          Income                                                     Year 1        Year 2         Year 3         Year 4         Year 5         Year 6         Year 7         Year 8         Year 9         Year 10

          Year Ending                                               1/31/18        1/31/19        1/31/20        1/31/21        1/31/22        1/31/23        1/31/24        1/31/25        1/31/26        1/31/27

          Gross Potential Rent                                     $396,421       $423,616       $436,324       $449,414       $462,897       $476,784       $491,087       $505,820       $520,994       $536,624

          Vacancy/Loss                                             $(63,500)      $(21,181)      $(21,816)      $(22,471)      $(23,145)      $(23,839)      $(24,554)      $(25,291)      $(26,050)      $(26,831)

          Gross Scheduled Rent                                     $332,921       $402,435       $414,508       $426,944       $439,752       $452,944       $466,533       $480,529       $494,945       $509,793

          Less Uncollectables                                       $(9,988)      $(12,073)      $(12,435)      $(12,808)      $(13,193)      $(13,588)      $(13,996)      $(14,416)      $(14,848)      $(15,294)

          Other Income                                              $2,616         $3,063         $3,154         $3,249         $3,346         $3,447         $3,550         $3,657         $3,766         $3,879

          Operating Income                                         $325,549       $393,425       $405,227       $417,384       $429,906       $442,803       $456,087       $469,770       $483,863       $498,379

          Expenses                                                   Year 1        Year 2         Year 3         Year 4         Year 5         Year 6         Year 7         Year 8         Year 9         Year 10

          Leasing Commissions                                       $(8,130)       $(2,652)       $(5,181)       $(5,337)       $(5,497)       $(5,662)       $(5,832)       $(6,007)       $(6,187)       $(6,372)

          Real Estate Taxes                                        $(21,968)      $(21,968)      $(22,517)      $(23,080)      $(23,657)      $(24,248)      $(24,855)      $(25,476)      $(26,113)      $(26,766)

          Insurance                                                 $(8,591)       $(8,591)       $(8,806)       $(9,026)       $(9,252)       $(9,483)       $(9,720)       $(9,963)      $(10,212)      $(10,467)

          Gas/Heat                                                 $(15,410)      $(18,189)      $(19,420)      $(19,906)      $(20,403)      $(20,914)      $(21,436)      $(21,972)      $(22,522)      $(23,085)

          Electric                                                  $(2,351)       $(2,775)       $(2,963)       $(3,037)       $(3,112)       $(3,190)       $(3,270)       $(3,352)       $(3,436)       $(3,521)

          Water                                                     $(6,165)       $(7,276)       $(7,769)       $(7,963)       $(8,162)       $(8,366)       $(8,576)       $(8,790)       $(9,010)       $(9,235)

          Trash                                                     $(2,033)       $(2,400)       $(2,563)       $(2,627)       $(2,692)       $(2,760)       $(2,829)       $(2,899)       $(2,972)       $(3,046)

          Snow Removal/Landscaping                                  $(2,033)       $(2,400)       $(2,563)       $(2,627)       $(2,692)       $(2,760)       $(2,829)       $(2,899)       $(2,972)       $(3,046)

          Pest Control                                              $(1,017)       $(1,200)       $(1,281)       $(1,313)       $(1,346)       $(1,380)       $(1,414)       $(1,450)       $(1,486)       $(1,523)

          Legal                                                     $(1,017)       $(1,200)       $(1,281)       $(1,313)       $(1,346)       $(1,380)       $(1,414)       $(1,450)       $(1,486)       $(1,523)

          Repairs & Maintenance                                    $(13,750)      $(13,750)      $(14,094)      $(14,446)      $(14,807)      $(15,177)      $(15,557)      $(15,946)      $(16,344)      $(16,753)

          G&A                                                       $(5,000)       $(5,000)       $(5,125)       $(5,253)       $(5,384)       $(5,519)       $(5,657)       $(5,798)       $(5,943)       $(6,092)

          Management Fee 5%                                        $(16,277)      $(19,671)      $(20,261)      $(20,869)      $(21,495)      $(22,140)      $(22,804)      $(23,488)      $(24,193)      $(24,919)

          Operating Expenses                                       $(103,742)    $(107,072)     $(113,824)     $(116,797)     $(119,848)     $(122,979)     $(126,192)     $(129,490)     $(132,875)     $(136,349)

                                % Operating Income                  31.87%         27.22%         28.09%         27.98%         27.88%         27.77%         27.67%         27.56%         27.46%         27.36%

          Income Analysis                                            Year 1        Year 2         Year 3         Year 4         Year 5         Year 6         Year 7         Year 8         Year 9         Year 10

          Net Operating Income                                     $221,807       $286,353       $291,404       $300,588       $310,058       $319,824       $329,895       $340,279       $350,988       $362,030

          Cap Rate (Purchase Price)                                 6.52%          8.42%          8.57%          8.84%          9.12%          9.41%          9.70%          10.01%         10.32%         10.65%

          Cap Rate (Market Value)                                   7.00%          7.00%          7.00%          7.00%          7.00%          7.00%          7.00%          7.00%          7.00%          7.00%

          Free Cash Flow                                           $152,531        $76,102        $72,718        $77,190        $81,789        $86,517        $91,380        $96,380       $101,521       $106,807

          Cash-on-Cash Return                                      -57.21%         2.06%          15.51%         17.10%         18.74%         20.43%         22.17%         23.97%         25.83%         27.74%

          Loan Analysis                                              Year 1        Year 2*        Year 3         Year 4         Year 5         Year 6         Year 7         Year 8         Year 9         Year 10

          Market Valuation (At Year End)                          $4,273,234     $4,385,122     $4,483,133     $4,624,425     $4,770,126     $4,920,373     $5,075,305     $5,235,069     $5,399,813     $5,569,692

          - Year End Loan Balance                                 $(3,431,000)   $(3,365,851)   $(3,305,933)   $(3,243,418)   $(3,178,193)   $(3,110,142)   $(3,039,142)   $(2,965,065)   $(2,887,778)   $(2,887,778)

          = Equity                                                 $842,234      $1,019,271     $1,177,200     $1,381,008     $1,591,933     $1,810,230     $2,036,163     $2,270,004     $2,512,035     $2,681,914

          Loan-to-Value Ratio                                       80.29%         76.76%         73.74%         70.14%         66.63%         63.21%         59.88%         56.64%         53.48%         51.85%

          Debt Service Coverage                                      1.10           1.42           1.44           1.49           1.54           1.58           1.63           1.69           1.74           1.79

          Potential Cash-Out Refi Amount                           $(12,413)       $77,097       $220,655       $393,608       $572,684       $758,105       $950,102      $1,148,913     $1,354,785     $1,567,975

          Sale Analysis                                              Year 1        Year 2*        Year 3         Year 4         Year 5         Year 6         Year 7         Year 8         Year 9         Year 10

          Equity                                                   $842,234      $1,019,271     $1,177,200     $1,381,008     $1,591,933     $1,810,230     $2,036,163     $2,270,004     $2,512,035     $2,681,914

          - Selling Costs                                          $(213,662)    $(219,256)     $(224,157)     $(231,221)     $(238,506)     $(246,019)     $(253,765)     $(261,753)     $(269,991)     $(278,485)

          = Proceeds After Sale                                    $628,572       $800,015       $953,043      $1,149,786     $1,353,427     $1,564,212     $1,782,398     $2,008,250     $2,242,044     $2,403,429

          + Cumulative Cash Flow                                   $152,531       $228,633       $301,351       $378,541       $460,329       #VALUE!        #VALUE!         #DIV/0!        #DIV/0!        #DIV/0!

          + Projected Capital Requirement                          $(577,625)    $(577,625)     $(577,625)     $(577,625)     $(577,625)     $(577,625)     $(577,625)     $(577,625)     $(577,625)     $(577,625)

          = Net Profit                                             $203,479       $451,023       $676,770       $950,702      $1,236,131      #VALUE!        #VALUE!         #DIV/0!        #DIV/0!        #DIV/0!

          Internal Rate of Return                                                  36.96%         34.30%         33.41%         32.16%         30.92%         29.80%         28.81%         27.94%         26.89%

          Return on Investment                                                     78.08%        117.16%        164.59%        214.00%        #VALUE!        #VALUE!         #DIV/0!        #DIV/0!        #DIV/0!




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Case: 1:18-cv-05587 Document #: 5-21 Filed: 08/15/18 Page 27 of 83 PageID #:306




                      EXHIBIT B
  DocuSign Envelope ID: 457E3DA5-EC3A-4938-8D3F-FF21E106CCBF
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                  


                                    LENDER                               BORROWER

                      D
                            The persons listed on
                             Exhibit A to the Note
                                                                        EQUITYBUILD, INC.
                                                                   1083 N COLLIER BLVD. #132
                                                                                                                  COMMERCIAL FLAT
                        C/O EQUITYBUILD FINANCE, LLC
                         5068 WEST PLANO PKWY #300
                                                                    MARCO ISLAND, FL 34145
                                                                                                                 RATE PROMISSORY
                              PLANO, TX 75093
                                                                                                                                      NOTE
                                                                                                                        With Balloon Payment
                                                                                                                               Illinois



                       Interest Rate                   Principal      Funding Date             Maturity Date            Loan Number
                             16%                 $_____________
                                                               02/13/2017               08/01/2018                      N/A
                       For 18 Months                                                                                



                  THIS LOAN IS PAYABLE IN FULL ON OR BEFORE THE “MATURITY DATE” LISTED HEREIN. YOU MUST REPAY
                  THE ENTIRE PRINCIPAL BALANCE OF THE LOAN AND ANY UNPAID INTEREST, AND FEES AND COSTS, THEN
                  DUE TO THE LENDER. LENDER IS UNDER NO OBLIGATION TO REFINANCE, EXTEND OR MODIFY THE LOAN
                  AT THAT TIME. YOU WILL, THEREFORE, BE REQUIRED TO MAKE PAYMENT OUT OF OTHER ASSETS THAT
                  YOU MAY OWN, OR YOU WILL HAVE TO FIND A LENDER (WHICH MAY OR MAY NOT BE THE LENDER YOU
                  HAVE THIS LOAN WITH), WILLING TO LEND YOU THE MONEY. IF YOU REFINANCE THIS LOAN AT MATURITY,
                  YOU MAY HAVE TO PAY SOME OR ALL OF THE CLOSING COSTS NORMALLY ASSOCIATED WITH A NEW
                  LOAN EVEN IF YOU OBTAIN REFINANCING FROM THE SAME LENDER. FOR VALUE RECEIVED, the
                  undersigned Borrower(s), Maker(s) and/or Guarantor(s) (hereinafter the “Borrower”) promises to pay The persons
                  listed on Exhibit A to this Note C/O EquityBuild Finance, LLC (hereinafter collectively referred to as the “Holder” or
                  “Lender”), at 5068 West Plano Pkwy. #300 Plano, TX 75093, the principal sum of
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                  _____________________________________________ and 00/100 DOLLARS ($___________________),
                                                                                                  together

                  with interest from the above date at the interest rate of SIXTEEN PERCENT (16.0%) per annum on the unpaid
                  principal balance until paid. The principal of this Note, plus accrued interest at the rate aforesaid, shall be due and
                  payable in EIGHTEEN (18) installments as follows:
                                                                                   
                                     a) ONE (1) interest payment in the amount of __________________________________ and
                   
                  _____/100            
                            DOLLARS ($_________________), beginning on or before FENRUARY 13, 2017; and


                                     b) SIXTEEN (16) equal and consecutive interest only payments in the amount of
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                  ______________________________________ and _____/100 DOLLARS ($_______________), beginning on or

                  before APRIL 01, 2017; and continuing each and every month thereafter; and


                                 c) One (1) final balloon payment on or before AUGUST 01, 2018, at which time the entire principal
                  balance, together with accrued but unpaid interest thereon, and any costs and expenses, shall be due and payable.

                           Anything in this Note contrary notwithstanding, the entire unpaid balance of the principal sum and all unpaid



                  IL: Commercial Flat Rate Promissory Note
                                                                                ͳ                                  Borrower’s Initials: _______
DocuSign Envelope ID: 457E3DA5-EC3A-4938-8D3F-FF21E106CCBF
               Case: 1:18-cv-05587 Document #: 5-21 Filed: 08/15/18 Page 29 of 83 PageID #:308
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                interest accrued thereon shall, unless sooner paid, be and become due and payable on AUGUST 01, 2018 (“Maturity
                Date”).

                        1.      Application of Payments. All payments on this Note shall be made in lawful money of the United
                States of America and shall be applied first to any late charges due hereunder, second to the payment of accrued but
                unpaid interest and the remainder to the reduction of principal. The Borrower shall make all payments when due,
                without set-offs of any nature.

                         2.      Late Charge/Dishonored Check. There shall be a grace period of five (5) days for any payment due
                under this Note. The Borrower shall pay a late charge of 5% of the monthly payment amount, or $50.00, whichever is
                greater, if such payment is received by Lender after the grace period. If the Maturity Date of the Note has expired the
                late fee will be at the rate of 1.5% per month plus the face amount of the Note.
                In the event any check given by Borrower to Lender as a payment on this Note is dishonored, or in the event there are
                insufficient funds in Borrower’s designated account to cover any preauthorized monthly debit from Borrower’s checking
                account, then, without limiting any other charges or remedies, Borrower shall pay to Lender a processing fee of $50.00
                (but not more than the maximum amount allowed by law) for each such event.

                        3.      Security. To secure the payment and performance of obligations incurred under this Note, this Note
                shall be secured by and subject to the terms of a Mortgage of even date herewith from the Borrower which encumbers
                real property and improvements located at

                6217 S Dorchester Ave. Chicago, IL 60637, and the maturity hereof is subject to acceleration as therein set forth.
                Both this Note and the Mortgage are given in consideration of a loan of even date herewith in the amount of the
                principal sum by the Lender to the Borrower.

                In addition to the property described above, Borrower grants Lender a security interest in all of Borrower’s right, title
                and interest in all monies and instruments of Borrower that are now or in the future in Lender’s custody or control.

                       4.      Events of Default. An Event of Default will occur under this Note in the event that Borrower any
                guarantor or any other third party pledging collateral to secure this Note:

                                   a. Fails to make any payment of principal and/or interest or any other sum due hereunder when the
                                        same is due pursuant to the terms of this Note;
                                   b. If Borrower, guarantor or such third party:
                                            i.     Applies for or consents to the appointment of a receiver, trustee or liquidator of
                                                   Borrower, guarantor or such third party or of all or a substantial part of its assets;
                                            ii.    Files a voluntary petition in bankruptcy, whether by the Federal Bankruptcy Act or any
                                                   similar State stature, or admits in writing its inability to pay its debts as they come due;
                                            iii.   Makes an assignment for the benefit of creditors;
                                            iv.    Files a petition or an answer seeking a reorganization or an arrangement with creditors
                                                   or seeking to take advantage of any insolvency law;
                                            v.     Performs any other act of bankruptcy; or
                                            vi.    Files an answer admitting the material allegations of a petition filed against Borrower,
                                                   guarantor or such third party in any bankruptcy, reorganization or insolvency proceeding;
                                                   or
                                   c. Permits the entry of any order, judgment or decree by any court of competent jurisdiction
                                   adjudicating Borrower, guarantor or such third party a bankrupt or an insolvent, or approving a receiver,
                                   trustee or liquidator of Borrower, guarantor or such third party or of all or a substantial part of its assets;
                                   or
                                   d. There otherwise commences with respect to Borrower, guarantor or such third party or any of its
                                   assets any proceeding under any bankruptcy, reorganization, arrangement, insolvency, readjustment,
                                   receivership or like law or statute, and if the order, judgment, decree or proceeding continues unstayed
                                   for any period of 60 consecutive days, or continues in effect for more than 10 days after any stay
                                   thereof.
                                   e.       Fails to perform or violates any obligations or covenants under the terms of this Note or any
                                   Mortgages or any additional loan documents or any other present or future written agreements



                IL: Commercial Flat Rate Promissory Note
                                                                                  ʹ                                   Borrower’s Initials: _______
DocuSign Envelope ID: 457E3DA5-EC3A-4938-8D3F-FF21E106CCBF
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                                   regarding this Note or any other indebtedness or obligations between Borrower, guarantor or such third
                                   party and Lender;
                                   f.       Defaults under the terms of any note, mortgage, security instrument, or any other loan
                                   documents or written agreements for any other loans secured by the property representing the
                                   collateral for this Note;
                                   g.       Permits the entry of any judgment or lien, or the issuance of any execution, levy, attachment or
                                   garnishment proceedings against Borrower, guarantor or such third party;
                                   h.       Sells or otherwise conveys any property which constitutes security or collateral for the payment
                                   of this Note without the prior written consent of the Lender and/or the destruction, loss or damage to
                                   such collateral in any material respect and/or the seizure, condemnation or confiscation of the
                                   collateral;
                                   i.       Provides or causes to be provided any false or misleading signature or representation to be
                                   provided to Lender;
                                   j.       Has a garnishment, judgment, tax levy, attachment or lien entered or served against Borrower,
                                   any guarantor, or any third party pledging collateral to secure this Note or any of their property;
                                   k.       Dies, becomes legally incompetent, is dissolved or terminated, or ceases to operate its
                                   business;
                                   l.       Has a majority of its outstanding voting securities sold, transferred or conveyed to any person or
                                   entity other than any person or entity that has the majority ownership as of the date of the execution of
                                   this Note;
                                   m.       Causes Lender to deem itself insecure due to a significant decline in the value of any real or
                                   personal property securing payment of this Note, or Lender, in good faith believes the prospect of
                                   payment or performance is impaired;
                                   n.       Fails to keep an insurance policy in place on the subject property being used as collateral for
                                   this loan with Lender as the mortgagee and/or as the loss payee including its successor and/or assigns;
                                   o.       Fails to keep property taxes current on property used as security for this Note.

                        5.     Rights of Lender On Event of Default. In the Event of Default as set forth herein, or in the event of
                the breach of any covenant or obligation contained in the herein referred to Mortgage or Loan Documents on the part
                of the undersigned to be kept, observed or performed, the Lender, at its sole and absolute discretion, may exercise
                one or more of the following remedies without notice or demand (except as required by law):

                                   a.      Declare the entire unpaid balance of principal of this Note, along with accrued and unpaid
                                   interest thereon and all other charges, costs and expenses, provided for herein and in the Mortgage
                                   immediately due and payable. Such acceleration shall be automatic and immediate in the Event of
                                   Default is a filing under the Bankruptcy Code;
                                   b.      Collect the outstanding obligations of Borrower with or without judicial process;
                                   c.      Cease making advances under this Note or any other agreement between Borrower and
                                   Lender;
                                   d.      Take possession of any collateral in any manner permitted by law;
                                   e.      require Borrower to deliver and make available to Lender any collateral at a place reasonably
                                   convenient to Borrower and Lender;
                                   f.      Sell, lease or otherwise dispose of any collateral and collect any deficiency balance with or
                                   without resorting to legal process;
                                   g.      Assume any and all mortgages/deeds of trust in existence at the time of default on all collateral
                                   securing loans made to Borrower;
                                   h.      Set-off Borrower’s obligations against any amounts due to Borrower including, but not limited to,
                                   monies and instruments, maintained with Lender; and
                                   i.      Exercise all other rights available to Lender under any other written agreement or applicable
                                   law.

                At any time an Event of Default shall have occurred and be continuing and/or after maturity of the Loan, including
                maturity upon acceleration, the unpaid principal balance, all accrued and unpaid interest and all other amounts payable
                under the Note shall bear interest at the “Default Rate” set forth in this Note. The unpaid principal balance shall
                continue to bear interest after the Maturity Date at the Default Rate set forth in this Note until and including the date on
                which it is paid in full. Any regularly scheduled monthly installment of interest that is received by Lender before the date



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                it is due shall be deemed to have been received on the due date solely for the purpose of calculating interest due. Any
                accrued interest remaining past due for 30 days or more shall be added to and become part of the unpaid principal
                balance and shall bear interest at the rate or rates specified in this Note, and any reference herein to "accrued interest"
                shall refer to accrued interest which has not become part of the unpaid principal balance. Interest under this Note shall
                be computed on the basis of a 360-day year consisting of twelve 30-day months. Borrower shall make all payments of
                principal and interest under this Note without relief from valuation and appraisement laws.

                Lender’s remedies in this Section are in addition to any available at common law and nothing in this Section shall
                impair any right which the Holder has under this Note, or at law or in equity, to accelerate the debt on the occurrence of
                any other Event of Default, whether or not relating to this Note. Lender’s rights or remedies as provided in this Note
                shall be cumulative and concurrent and may be pursued singly, successively, or together against Borrower or any
                guarantor or third party (without first having to proceed against Borrower), at Lender’s sole and absolute discretion.
                Borrower shall pay to Lender on Lender’s demand the amount of all expenses incurred by Lender (a) in enforcing it’s
                rights under this Note, or (b) as the result of a default by Borrower under this Note, including but not limited to the cost
                of collecting any amount owed hereunder, and any reasonable attorney’s fees. The failure by Lender to exercise any of
                its options contained herein shall not constitute a waiver of the right to exercise such option in the event of any
                subsequent default.

                         6.      Costs and Expenses. To the extent permitted by law, Borrower agrees to pay any and all reasonable
                fees and costs, including, but not limited to, fees and costs of attorneys and other agents (including without limitation
                paralegals, clerks and consultants), whether or not such attorney or agent is an employee of Lender, which are
                incurred by Lender in collecting any amount due or enforcing any right or remedy under this Note, whether or not suit is
                brought, including, but not limited to, all fees and costs incurred on appeal, in bankruptcy, and for post-judgment
                collection actions. Said collection fees shall be in the minimum amount of Fifteen Percent (15%) of the amount of the
                judgment as collected (or, if collected without judgment, a minimum fee of Fifteen Percent (15%) of the amount
                collected), which attorney’s fee shall not be diminished by any other fees, costs or damages, but in no event shall the
                attorney’s fees be less than $3,000.00.

                       7.      Extensions. The Borrower shall remain liable for the payment of this Note, including interest,
                notwithstanding any extension or extensions of time of payment or any indulgence of any kind or nature that the
                Lender may grant or permit any subsequent owner of the encumbered property, whether with or without notice to the
                Borrower and the Borrower hereby expressly waives such notice.

                      8.    Confessed Judgment. UPON ANY DEFAULT BY THE BORROWER AS SET FORTH IN THIS NOTE,
                AND TO THE EXTENT PERMITTED BY LAW, THE BORROWER HEREBY AUTHORIZES ANY ATTORNEY AT LAW
                TO APPEAR FOR THE BORROWER IN ANY COURT OF COMPETENT JURISDICTION AND WAIVE THE
                ISSUANCE AND SERVICE OF PROCESS AND CONFESS A JUDGMENT AGAINST THE BORROWER IN FAVOR
                OF THE LENDER FOR SUCH AMOUNTS AS MAY THEN APPEAR TO BE UNPAID HEREON TOGETHER WITH
                COSTS, EXPENSES AND ATTORNEY’S FEES IN THE MINIMUM AMOUNT OF FIFTEEN PERCENT (15%) OF THE
                AMOUNT DUE FOR COLLECTION (BUT IN NO EVENT SHALL SUCH FEES BE LESS THAN $3000.00), AND TO
                RELEASE ALL PROCEDURAL ERRORS AND WAIVE ALL RIGHTS OF APPEAL. IF THE CONFESSION OF
                JUDGMENT ABOVE PROVIDED FOR IS AUTHORIZED OR RECOGNIZED BY THE LAW OF THE JURISDICTION
                CONTROLLING BUT SUCH LAW REQUIRES SPECIAL FORMALITIES AND PROCEDURE, THEN THE SAID
                ATTORNEY IS EMPOWERED TO EXECUTE THE NECESSARY FORM AND COMPLY WITH SUCH SPECIAL
                PROCEDURES. THIS POWER OF CONFESSION OF JUDGMENT SHALL NOT BE EXHAUSTED BY ANY ONE OR
                MORE EXERCISES, AND THE POWER SHALL CONTINUE UNDIMINISHED AND MAY BE EXERCIED FROM TIME
                TO TIME AS OFTEN AS LENDER SHALL ELECT UNTIL ALL AMOUNTS PAYABLE TO LENDER UNDER THIS
                NOTE SHALL HAVE BEEN PAID IN FULL.

                        9.       Forbearance. The Lender shall not by any act or omission to act be deemed to waive any of its rights
                or remedies hereunder unless such waiver is in writing and signed by the Lender and then only to the extent
                specifically set forth therein. A waiver on one occasion shall not be construed as continuing or as a bar to or waiver of
                such right or remedy on any other occasion. All remedies conferred upon the Lender by this Note or any other
                instrument or agreement connected herewith or related hereto shall be cumulative and none is exclusive, and such
                remedies may be exercised concurrently or consecutively at the Lender’s option.




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                        10.     Modification and Waiver. Borrower and/or every person at any time liable for the payment of the debt
                evidenced hereby, waives the exercise of all exemption rights which it holds at law or in equity concerning to the debt
                evidenced by this Note whether under state constitution, homestead laws or otherwise. Borrower and any endorsers or
                guarantors hereof severally waive valuation and appraisement, presentment and demand for payment, notice of intent
                to accelerate maturity, notice of acceleration of maturity, protest or notice of protest and nonpayment, bringing of suit
                and diligence in taking any action to collect any sums owing hereunder or in proceeding against any of the rights and
                properties securing payment hereof, and trial by jury in any litigation arising out of, relating to, or connected with this
                Note or any instrument given as security hereof.

                From time to time, without affecting Borrower’s obligation to pay any sums due under this Note and perform Borrower’s
                covenants herein, without affecting the obligations of any endorser hereto or guarantor hereof, without giving notice to
                or obtaining the consent of Borrower or any endorser hereto or guarantor hereof, and without liability on the part of the
                Holder, Holder may, acting it its sole and absolute discretion, extend the Maturity Date or any other time for payment of
                interest hereon and/or principal hereof, reduce the payments hereunder, release anyone liable under this Note accept
                a renewal of this Note, modify the terms and time of payment of this Note, join in any extension or subordination or
                exercise any option or election hereunder, modify the rate of interest or period of amortization or principal due date of
                this Note, or exercise any option or election hereunder. No one or more such actions shall constitute a novation.

                         11.       Voluntary and Involuntary Prepayments.

                         (a)     A prepayment premium shall be payable in connection with any prepayment made under this Note as
                provided below:
                                 (i)      Borrower may voluntarily prepay all of the unpaid principal balance of this Note on a Business
                Day designated as the date for such prepayment in a Notice from Borrower to Lender given at least 30 days prior to
                the date of such prepayment. Such prepayment shall be made by paying (A) the amount of principal being prepaid, (B)
                all accrued interest, (C) all other sums due Lender at the time of such prepayment, and (D) the prepayment premium
                calculated pursuant to Section 11(f) of this Note. For purposes of this Note, a "Business Day" means any day other
                than a Saturday, Sunday or any other day on which Lender is not open for business. For all purposes including the
                accrual of interest, but excluding the determination of the prepayment date under Section 11(f) of this Note, any
                prepayment received by Lender on any day other than the last calendar day of the month shall be deemed to have
                been received on the last calendar day of such month.
                                 (ii)     Borrower may voluntarily prepay less than all of the unpaid principal balance of this Note
                (a "Partial Prepayment") at any time. Upon delivery of the Partial Prepayment, a prepayment premium calculated
                pursuant to Section 11(f) of this Note, based on the amount being prepaid, shall be due and payable to Lender upon
                demand.
                                 (iii)    Upon Lender's exercise of any right of acceleration under this Note, Borrower shall pay to
                Lender, in addition to the entire unpaid principal balance of this Note outstanding at the time of the acceleration, (A) all
                accrued interest, (B) and all other sums due Lender, and (C) the prepayment premium calculated pursuant to Section
                11(f) of this Note, to the extent such prepayment premium does not exceed the maximum rate permitted by applicable
                law.
                                 (iv)     Any application by Lender of any proceeds of collateral or other security to the repayment of
                any portion of the unpaid principal balance of this Note prior to the Maturity Date and in the absence of acceleration
                shall be deemed to be a partial prepayment by Borrower, requiring the payment to Lender by Borrower of a
                prepayment premium. The amount of any such partial prepayment shall be computed so as to provide to Lender a
                prepayment premium computed pursuant to Section 11(f) of this Note without Borrower having to pay out-of-pocket
                any additional amounts.
                         (b)     Notwithstanding the provisions of Section 11(a), no prepayment premium shall be payable with respect
                to (A) any prepayment made after the expiration of the Prepayment Premium Period (as defined in Section 11(f) of this
                Note), or (B) any prepayment occurring as a result of the application of any insurance proceeds or condemnation
                award under the Security Instrument.
                         (c)     Any permitted or required prepayment of less than the unpaid principal balance of this Note shall not
                extend or postpone the due date of any subsequent monthly installments or change the amount of such installments,
                unless Lender agrees otherwise in writing.
                         (d)     Borrower recognizes that any prepayment of the unpaid principal balance of this Note, whether
                voluntary or involuntary or resulting from a default by Borrower, will result in Lender's incurring loss, including
                reinvestment loss, additional expense and frustration or impairment of Lender's ability to meet its commitments to third



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                parties. Borrower agrees to pay to Lender upon demand damages for the detriment caused by any prepayment, and
                agrees that it is extremely difficult and impractical to ascertain the extent of such damages. Borrower therefore
                acknowledges and agrees that the formula for calculating prepayment premiums set forth in Section 11(f) represents a
                reasonable estimate of the damages Lender will incur because of a prepayment.
                        (e)      Borrower further acknowledges that the prepayment premium provisions of this Note are a material part
                of the consideration for the Loan, and acknowledges that the terms of this Note are in other respects more favorable to
                Borrower as a result of the Borrower's voluntary agreement to the prepayment premium provisions.
                        (f)      Any prepayment premium payable under this Section 11 shall be computed as follows:
                                 (i)    If the prepayment is made between the date of the initial funding of the loan evidenced by this
                Note and the last day of the month after the month of close (the "Prepayment Premium Period"), the prepayment
                premium shall be the interest at the Note rate herein that would be earned on full loan amount for the balance of the
                Prepayment Premium Period.
                                 (ii)   If the prepayment is made after the expiration of the Prepayment Premium Period, there shall
                be no prepayment premium due.

                          12.     Default Rate. So long as (a) any monthly installment under this Note remains past due for thirty (30)
                days or more or (b) any other Event of Default has occurred and is continuing, interest under this Note shall accrue on
                the unpaid principal balance from the earlier of the due date of the first unpaid monthly installment or the occurrence of
                such other Event of Default, as applicable, at a rate (the "Default Rate") equal to the lesser of seven (7) percentage
                points above the rate stated in the first paragraph of this Note or the maximum interest rate which may be collected
                from Borrower under applicable law. If the unpaid principal balance and all accrued interest are not paid in full on the
                Maturity Date, the unpaid principal balance and all accrued interest shall bear interest from the Maturity Date at the
                Default Rate. Borrower acknowledges that (a) its failure to make timely payments will cause Lender to incur additional
                expenses in servicing and processing the Loan, (b) during the time that any monthly installment under this Note is
                delinquent for thirty (30) days or more, Lender will incur additional costs and expenses arising from its loss of the use
                of the money due and from the adverse impact on Lender’s ability to meet its other obligations and to take advantage
                of other investment opportunities; and (c) it is extremely difficult and impractical to determine those additional costs and
                expenses. Borrower also acknowledges that, during the time that any monthly installment under this Note is delinquent
                for thirty (30) days or more or any other Event of Default has occurred and is continuing, Lender’s risk of nonpayment
                of this Note will be materially increased and Lender is entitled to be compensated for such increased risk. Borrower
                agrees that the increase in the rate of interest payable under this Note to the Default Rate represents a fair and
                reasonable estimate, taking into account all circumstances existing on the date of this Note, of the additional costs and
                expenses Lender will incur by reason of the Borrower’s delinquent payment and the additional compensation Lender is
                entitled to receive for the increased risks of nonpayment associated with a delinquent loan. During any period that the
                Default Rate is in effect the additional interest accruing over and above the rate stated in the first paragraph of this
                Note shall be immediately due and payable in addition to the regularly scheduled principal and interest payments.
                Lender shall impose the Default Rate without any notice requirement to Borrower, guarantor or any third party pledging
                collateral as security for this Note.

                        13.       Loan Charges/Maximum Rate Permitted By Law. Neither this Note nor any of the other Loan
                Documents shall be construed to create a contract for the use, forbearance or detention of money requiring payment of
                interest at a rate greater than the maximum interest rate permitted to be charged under applicable law. If any
                applicable law limiting the amount of interest or other charges permitted to be collected from Borrower in connection
                with the Loan is interpreted so that any interest or other charge provided for in any Loan Document, whether
                considered separately or together with other charges provided for in any other Loan Document, violates that law, and
                Borrower is entitled to the benefit of that law, that interest or charge is hereby reduced to the extent necessary to
                eliminate that violation. The amounts, if any, previously paid to Lender in excess of the permitted amounts shall be
                applied by Lender to reduce the unpaid principal balance of this Note. For the purpose of determining whether any
                applicable law limiting the amount of interest or other charges permitted to be collected from Borrower has been
                violated, all Indebtedness that constitutes interest, as well as all other charges made in connection with the
                Indebtedness that constitute interest, shall be deemed to be allocated and spread ratably over the stated term of the
                Note. Unless otherwise required by applicable law, such allocation and spreading shall be effected in such a manner
                that the rate of interest so computed is uniform throughout the stated term of the Note. If Lender reasonably
                determines that the interest rate (together with all other charges or payments that may be deemed interest) stipulated
                under this Note is or may be usurious or otherwise limited by law, the unpaid balance of this Note, with accrued interest
                at the highest rate permitted to be charged by stipulation in writing between Lender and Borrower, at the option of



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                Lender, shall immediately become due and payable.

                      14.   Waiver of Jury Trial. THE BORROWER WAIVES TRIAL BY JURY IN ANY ACTION OR
                PROCEEDING ARISING OUT OF, OR IN ANY WAY PERTAINING TO, THIS NOTE OR ANY DEED OF
                TRUST/MORTGAGE ARISING FROM THIS NOTE. THIS WAIVER CONSTITUTES A WAIVER OF TRIAL BY JURY
                OF ALL CLAIMS AGAINST ALL PARTIES TO SUCH ACTIONS OR PROCEEDINGS. THIS WAIVER IS KNOWINGLY,
                WILLINGLY AND VOLUNTARILY MADE BY THE BORROWER, AND THE BORROWER HEREBY REPRESENTS
                THAT NO REPRESENTATIONS OF FACT OR OPINION HAVE BEEN MADE BY ANY INDIVIDUAL TO INDUCE THIS
                WAIVER OF TRIAL BY JURY OR TO IN ANY WAY MODIFY OR NULLIFY ITS EFFECT.

                       15.     Notices. Any Notice or other communication required, permitted or desirable under the terms of this
                Note shall be sufficiently given if sent to each party as follows:

                                   Lender:            The persons listed on Exhibit A to this Note
                                                      C/O EquityBuild Finance, LLC
                                                      5068 West Plano Pkwy, #300
                                                      Plano, Texas 75093
                                                      Fax: 239-244-8666
                                                      Email: shaun.d.cohen@gmail.com

                                   Borrower:          EquityBuild, Inc.
                                                      1083 N Collier Blvd. #132
                                                       Marco Island, FL 34145
                                                      Fax: 202-204-8423
                                                      Email: jerry@equitybuild.com


                           Any notice, demand, consent, approval, request or other communication or document to be given hereunder to
                a party hereto shall be (a) in writing, and (d) deemed to have been given (i) on the 3 rd business day after being sent as
                certified or registered mail in the United States mails, postage prepaid, return receipt requested, or (ii) on the next
                business day after being deposited (with instructions to deliver it on that business day) with a reputable overnight
                courier service, or (iii) (if the party’s receipt thereof is acknowledged in writing) on being sent by telefax or another
                means of immediate electronic communication, in each case to the party’s address set forth above or any other
                address in the United States of America which it designates from time-to-time by notice to each other party hereto, or
                (iv) (if the party’s receipt thereof is acknowledged in writing) on being given by hand or other actual delivery to the
                party.

                        16.     Entire Agreement/Severability. The terms and conditions of this Note together with the terms and
                conditions of the Mortgages which are incorporated herein by reference as if set forth fully herein contain the entire
                understanding between the Borrower and Lender with respect the indebtedness evidenced hereby. Such
                understanding may not be modified, amended or terminated except in a written document duly executed by Borrower
                and Lender. In the event that any one or more of the provisions set forth in this Note or any accompanying Arbitration
                Agreement is determined by law to be invalid, illegal or unenforceable, the validity, legality, and enforceability of the
                remaining provisions shall not in any way be affected or impaired hereby, and each provision in this Note shall be
                construed liberally in favor of Lender to the fullest extent of the law.

                        17.    Joint and Several Liability/Credit Reporting. The liability of the undersigned, as well as any
                endorsers and/or guarantor(s), shall be both joint and several. This Note shall be binding upon the heirs, successors
                and assigns of Borrower and Lender. Information concerning this Note may be reported to credit reporting agencies
                and will be made available when requested by proper legal process.

                        18.       Governing Law. This Note is delivered and made in, and shall be construed pursuant to the laws of the
                State of Illinois Unless applicable law provides otherwise, Borrower consents to the jurisdiction and venue of any court
                of competent jurisdiction located in Cook County, Illinois.

                         19.       Construction. As used herein, Person means a natural person, trustee, corporation, partnership,



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                limited liability company or other legal entity, and all references made (a) in the neuter, masculine or feminine gender
                shall be deemed made in all genders, (b) in the singular or plural number shall also be deemed made in the plural or
                singular number, and (c) to any Section, subsection, paragraph or subparagraph shall, unless therein expressly
                indicated to the contrary, be deemed made to that part of the Note. The headings of those parts are provided only for
                convenience of reference, and shall not be considered in construing their contents. Each document referred to herein
                as being attached hereto as an exhibit or otherwise designated herein as an exhibit hereto shall be a part hereof.

                        20.     Time of Essence. Time shall be of the essence of this Note, but (other than as to payment of principal
                and/or interest) if the last day for a Person to exercise a right or perform a duty hereunder is a Saturday, Sunday or
                statutory holiday, it shall have until the next day other than such a day to do so.
                        21.     Assignment. Borrower agrees not to assign any of Borrower’s rights, remedies or obligations
                described in this Note without the prior written consent of Lender, which consent may be withheld by Lender in its sole
                discretion. Borrower agrees that Lender is entitled to assign some or all of its rights and remedies described in this
                Note without notice to or the prior consent of Borrower.

                       22.     Commercial Purpose. It is expressly stipulated, warranted and agreed that the loan evidenced by this
                Note and any Loan Documents is a “commercial loan” under applicable State or Federal law, and all proceeds shall be
                used for business, commercial or investment purposes and expressly not for personal, family or household purposes.

                         23.       Extension. Intentionally omitted.

                         24.    Arbitration. If arbitration has been agreed to, Borrower(s) and Lender have entered into a separate
                Arbitration Agreement on this date, the terms of which are incorporated herein and made a part hereof by reference.

                         25.       Contingency Funds. Intentionally omitted.

                         26.       Demand Feature. Intentionally omitted.

                         27.      Consent To Relief From Automatic Stay. Borrower hereby agrees that if any of them shall (i) file with
                any bankruptcy court of competent jurisdiction or be the subject of any petition under Title 11 of the U.S. Code, as
                amended; (ii) be the subject of any order for relief issued under such Title 11 of the U.S. Code, as amended; (iii) file or
                be the subject of any petition seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution,
                or similar relief under any present or future federal or state act or law relating to bankruptcy, insolvency, or other relief
                for debtors; (iv) seek, consent to or acquiesce in the appointment of any trustee, receiver, conservator or liquidator; (v)
                be the subject of any order, judgment or decree entered by any court of competent jurisdiction approving a petition filed
                against Borrower for any reorganization, arrangement, composition, readjustment, liquidation, dissolution, or similar
                relief under any present or future federal or state act or law relating to bankruptcy, insolvency, or relief for debtors,
                Lender shall thereupon be entitled to relief from any automatic stay imposed by Section 362 of Title 11 of the U.S.
                Code, as amended, or from any other stay or suspension of remedies imposed in any other manner with respect to the
                exercise of the rights and remedies otherwise available to Lender under the Loan Documents.




                _______________________________________________
                THE PERSONS SIGNING BELOW ACKNOWLEDGE THAT THEY HAVE BEEN GIVEN AMPLE OPPORTUNITY TO
                READ THIS AGREEMENT AND SEEK INDEPENDENT LEGAL COUNSEL AND ACKNOWLEDGE THEY HAVE



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                COMPLETELY READ AND UNDERSTAND AND AGREE TO THE TERMS AND CONDITIONS OF THIS NOTE AND
                THE ACCOMPANYING ARBITRATION AGREEMENT (IF APPLICABLE), AND FURTHER ACKNOWLEDGE
                RECEIPT OF AN EXACT COPY OF THIS NOTE AND THE ARBITRATION AGREEMENT.

                DATED: ____________________________



                                                                   BORROWER(S): EQUITYBUILD, INC.

                                                                   ________________________________________(SEAL)
                                                                   JERRY COHEN, President


                STATE OF ______________________, COUNTY OF ________________________:                   ss:

                       On this _____ day of _______________________, 20____, before me, a notary public, personally appeared
                _______________ ___________________________________________________________________________, to
                me known (or proved to me on the basis of satisfactory evidence) to be the person(s) who executed the foregoing
                instrument and acknowledged the same for the purpose therein contained and in my presence signed and sealed the
                same.
                                                                             ______________________________________
                                                                              NOTARY PUBLIC

                My Comm. Expires:_____________




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                                                             Exhibit A
                                    %
                Lender Name:


                                       
                Lender Amount:


                                                                    
                Percentage of Ownership of Total Loan:



                Monthly Interest Payment Amount to Be Received: 
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                Lender Signature
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    Mail To:



                                       [The Above Space For Recorder's Use Only]

                                                             MORTGAGE

            THIS MORTGAGE ("Security Instrument") is given on February 13 th , 2017. The mortgagor
    is EquityBuild, Inc. ("Borrower").

    This Security Instrument is given to The Persons Listed on Exhibit A to the Mortgage C/O
    EquityBuild Finance, LLC whose address is 5068 West Plano Pkwy. #300 Plano, TX 75093
    ("Lender").

    Borrower owes Lender the principal sum of Three Million Six Hundred Fifty and 00/100 Dollars
    (U.S. $3,650,000.00). This debt is evidenced by Borrower's notes dated the same date as this
    Security Instrument (Mortgage), which provides for a final payment of the full debt, if not paid earlier,
    due and payable August 1st, 2018. This Security Instrument secures to Lender:
    (a) the repayment of the debt evidenced by the Note, with interest, and all renewals, extension and
    modifications; (b) the payment of all other sums, with interest advanced under paragraph 7 to protect
    the security of this Security Instrument; and (c) the performance of Borrower's covenants and
    agreements under this Security Instrument and the Note. For this purpose, Borrower does hereby
    mortgage, grant and convey to Lender the following described property located in COOK County,
    Illinois:


    PIN: 20-14-415-002-0000


    which has the address of 6217 S Dorchester Ave. Chicago, IL 60637 ("Property Address”);

           TOGETHER WITH all the improvements now or hereafter erected on the property, and all
    easements, rights, appurtenances, rents, royalties, mineral, oil and gas rights and profits, water rights
    and stock and all fixtures now or hereafter a part of the property. All replacements and additions shall
    also be covered by this Security Instrument. All of the foregoing is referred to in this Security
    Instrument as the "Property."
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             BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed
    and has the right to mortgage, grant and convey the Property and that the Property is
    unencumbered, except for encumbrances of record. Borrower warrants and will defend generally the
    title to the Property against all claims and demands, subject to any encumbrances of record.

           THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-
    uniform covenants with limited variations by jurisdiction to constitute a uniform security instrument
    covering real property.

    UNIFORM COVENANT. Borrower and Lender covenant and agree as follows:

           1. Payment of Principal and Interest; Prepayment and Late Charges. Borrower shall promptly
    pay when due the principal of and interest on the debt evidenced by the Note and any prepayment
    and late charges due under the Note.

          2. Hazard Insurance. Borrower shall keep the improvements now existing or hereafter erected
    on the Property insured against loss by fire, hazards included within the term "extended coverage"
    and any other hazards for which Lender requires insurance. This insurance shall be maintained in the
    amounts and for the periods that Lender requires. The insurance carrier providing the insurance shall
    be chosen by Borrower subject to Lender's approval which shall not be unreasonably withheld.

          All insurance policies and renewals shall be acceptable to Lender and shall include a standard
    mortgage clause. Lender shall have the right to hold the policies and renewals. If Lender requires,
    Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. In the
    event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
    make proof of loss if not made promptly by Borrower.

            Unless Lender and Borrower otherwise agree in writing, insurance proceeds shall be applied
    to restoration and repair of the Property damaged, if the restoration or repair is economically feasible
    and Lender's security is not lessened. If the restoration or repair is not economically feasible or
    Lender's security would be lessened, the insurance proceeds shall be applied to the sums secured
    by this Security Instrument, whether or not then due, with any excess paid to Borrower. If Borrower
    abandons the Property, or does not answer within 30 days a notice from Lender that the insurance
    carrier has offered to settle a claim, then Lender may collect the insurance proceeds. Lender may
    use the proceeds to repair or restore the Property or to pay sums secured by this Security
    Instrument, whether or not then due. The 30-day period will begin when the notice is given.

           Unless Lender and Borrower otherwise agree in writing, any application of proceeds to
    principal shall not extend or postpone the due date of the monthly payments referred to in
    paragraphs 1 and 2 or change the amount of the payments. If under paragraph 19 the property is
    acquired by Lender, Borrower's rights to any insurance policies and proceeds resulting from damage
    to the Property prior to the acquisition shall pass to Lender to the extent of sums secured by this
    Security Instrument immediately prior to the acquisition.

           3. Preservation and Maintenance of Property; Leaseholds. Borrower shall not destroy, damage
    or substantially change the Property, allow the Property to deteriorate or commit waste. If this
    Security Instrument is on a leasehold, Borrower shall comply with the provisions of the lease, and if
    Borrower acquires fee title to the Property, the leasehold and fee title shall not merge unless Lender
    agrees to the merger in writing.
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            4. Protection of Lender's Rights in the Property; Mortgage Insurance. If Borrower fails to
    perform the covenants and agreements contained in this Security Instrument, or there is a legal
    proceeding that may significantly affect Lender's rights in the Property (such as a proceeding in
    bankruptcy, probate, for condemnation or to enforce laws or regulations), then Lender may do and
    pay for whatever is necessary to protect the value of the Property and Lender's rights in the Property.
    Lender's actions may include paying any sums secured by a lien which has priority over this Security
    Instrument, appearing in court, paying reasonable attorneys' fees, and entering on the Property to
    make repairs. Although Lender may take action under this paragraph 4, Lender does not have to do
    so.

            5. Successor and Assigns Bound; Joint and Several Liability; Co-signers. The covenants and
    agreements of this Security Interest shall bind and benefit the successors and assigns of Lender and
    Borrower, subject to the provisions of paragraph 9. Borrower's covenants and agreements shall be
    joint and several. Any Borrower who co-signs this Security Instrument but does not execute the Note:
    (a) is co-signing this Security Instrument only to mortgage, grant and convey the Borrower's interest
    in the Property under the terms of this Security Instrument; (b) is not personally obligated to pay the
    sums secured by this Security Instrument; and (c) agrees that Lender and any other Borrower may
    agree to extend, modify, forebear or make any accommodations with regard to the terms of this
    Security Instrument or the Note without the Borrower's consent.

           6. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by
    delivering it or by mailing it by first class mail unless applicable law requires use of another method.
    The notice shall be directed to the Property Address or any other address Borrower designates by
    notice to Lender. Any notice to Lender shall be given by first class mail to Lender's address stated
    herein or any other address Lender designates by notice to Borrower. Any notice provided for in this
    Security Instrument shall be deemed to have been given to Borrower or Lender when given as
    provided in this paragraph.

            7. Governing Law; Severability. This Security Instrument shall be governed by federal law and
    the law of jurisdiction in which the Property is located. In the event that any provision or clause of this
    Security Instrument or Note conflicts with applicable law, such conflict shall not affect other provisions
    of this Security Instrument or the Note which can be given effect without the conflicting provision. To
    this end the provisions of this Security Instrument and the Note are declared to be severable.

           8. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this
    Security Instrument.

           9. Transfer of the Property or a beneficial Interest in Borrower. If all or any part of the Property
    or any interest in it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred
    and Borrower is not a natural person) without Lender's prior written consent, Lender may, at its
    option, require immediate payment in full of all sums secured by this Security Instrument. However,
    this option shall not be exercised by Lender if exercise is prohibited by federal law as of the date of
    this Security Instrument.

           If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
    shall provide a period of not less than 30 days from the date the notice is delivered or mailed within
    which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
    sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
    Security Instrument without further notice or demand on Borrower.
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             NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

            10. Release. Upon payment of all sums secured by this Security Instrument, Lender shall
    release this Security Instrument without charge to Borrower. Borrower shall pay any recordation
    costs.
            11. Assignment of Rents and Leases. As additional security for the payment of the
    Indebtedness, Mortgagor assigns and transfers to Mortgagee, pursuant to 1953 PA 210, as amended
    by 1966 PA 151 (MCLA 554.231 et seq., MSA 26.1137(1) et seq.), all the rents, profits, and income
    under all leases, occupancy agreements, or arrangements upon or affecting the Premises (including
    any extensions or amendments) now in existence or coming into existence during the period this
    Mortgage is in effect. This assignment shall run with the land and be good and valid as against
    Mortgagor and those claiming under or through Mortgagor. This assignment shall continue to be
    operative during foreclosure or any other proceedings to enforce this Mortgage. If a foreclosure sale
    results in a deficiency, this assignment shall stand as security during the redemption period for the
    payment of the deficiency. This assignment is given only as collateral security and shall not be
    construed as obligating Mortgagee to perform any of the covenants or undertakings required to be
    performed by Mortgagor in any leases. In the event of default in any of the terms or covenants of this
    Mortgage, Mortgagee shall be entitled to all of the rights and benefits of MCLA 554.231-.233, MSA
    26.1137(1)-(3), and 1966 PA 151, and Mortgagee shall be entitled to collect the rents and income
    from the Premises, to rent or lease the Premises on the terms that it may deem best, and to maintain
    proceedings to recover rents or possession of the Premises from any tenant or trespasser.
    Mortgagee shall be entitled to enter the Premises for the purpose of delivering notices or other
    communications to the tenants and occupants. Mortgagee shall have no liability to Mortgagor as a
    result of those acts. Mortgagee may deliver all of the notices and communications by ordinary first-
    class U.S. mail. If Mortgagor obstructs Mortgagee in its efforts to collect the rents and income from
    the Premises or unreasonably refuses or neglects to assist Mortgagee in collecting the rent and
    income, Mortgagee shall be entitled to appoint a receiver for the Premises and the income, rents, and
    profits, with powers that the court making the appointment may confer. Mortgagor shall at no time
    collect advance rent in excess of one month under any lease pertaining to the Premises, and
    Mortgagee shall not be bound by any rent prepayment made or received in violation of this
    paragraph. Mortgagee shall not have any obligation to collect rent or to enforce any other obligations
    of any tenant or occupant of the Premises to Mortgagor. No action taken by Mortgagee under this
    paragraph shall cause Mortgagee to become a "mortgagee in possession."

           BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
    this Security Instrument and in any rider(s) executed by Borrower and recorded with it.

    Signed, sealed and delivered in the presence of:

                                                             BORROWER: EquityBuild, Inc.




                                                                                           (SEAL)
                                                             Jerry Cohen, President



                                      [Space Below This Line For Acknowledgement]
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    STATE OF FLORIDA, ___________________ County ss:

           I hereby certify that on this day, before me, an officer duly authorized in the state aforesaid
    and in the county aforesaid to take acknowledgements, personally appeared Jerry Cohen, to me
    known to be the person described in and who executed the foregoing instrument and acknowledged
    that he/she executed the same for the purpose therein expressed.

          WITNESS my hand and official seal in the county and state aforesaid this ____ day of
    ____________, 20___.

    My Commission expires:

           {Seal}

       Notary Public
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                                    %
                Lender Name:


                                       
                Lender Amount:



                                                             	
                Percentage of Ownership of Total Loan:



                Monthly Interest Payment Amount to Be Received: 
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                Lender Signature




                EquityBuild Finance, LLC, as agent and trustee has been authorized by the

                above listed lenders to receive the payoff in its name and issue and execute a

                release of said mortgage, upon payment in full of any outstanding balance.
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                             COLLATERAL AGENCY AND SERVICING AGREEMENT

                                                             among

                                              EQUITYBUILD FINANCE, LLC,

                                           as Collateral Agent and Loan Servicer,

                                                              and

                                      EACH OF THE LENDERS PARTY HERETO
                                                                	
                                                DATED AS OF _____________
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                             COLLATERAL AGENCY AND SERVICING AGREEMENT

                     This COLLATERAL AGENCY AND SERVICING AGREEMENT (as amended,
                supplemented or otherwise modified from time to time, this “Agreement ”) is made as of
                 	
                _____________, by and among (i) EquityBuild Finance, LLC, a Florida limited liability
                Borrower (in its individual capacity, “EBF”, and in its capacity as collateral agent for the
                Lenders (as defined below), and in its capacity as loan servicer for the Lenders, the
                “Collateral Agent” or the “Servicer”), and (ii) each of the Lenders party hereto (together
                with their respective successors and assigns as beneficiaries of the Note (as defined
                below), the “Lenders”), and is acknowledged, consented and agreed to by EquityBuild,
                Inc. (the “Borrower”).

                                                             RECITALS
                                                                             	
                     A. Reference is made to that certain Note, dated _____________ (as the same from
                time to time hereafter may be amended, restated, supplemented or otherwise modified,
                the “Note”) by the Borrower in favor of the Lenders, pursuant to which, subject to the
                terms and conditions set forth therein, the Lenders shall make individual investment loans
                (each an “Investment”) to the Borrower as a collective secured loan (the “Loan”).

                     B. The Lenders have agreed to make the Loan to the Borrower, but only upon the
                condition, among others, that the Borrower grant to the Collateral Agent, for the benefit
                of the Lenders, as security for the Borrower’s obligations to the Lenders and the
                Collateral Agent under or in respect of the Note and the Mortgage (as defined below), a
                perfected lien on, and security interest in, the Collateral (as defined below).

                      C. The Lenders desire that EBF act as the collateral agent for and on behalf of all of
                the Lenders regarding the Collateral, all as more fully provided herein; and the Collateral
                Agent and the Lenders have entered into this Agreement to, among other things, further
                define the rights, duties, authority and responsibilities of the Collateral Agent and the
                relationship among the Lenders regarding their pari passu interests in the Collateral.

                     D. The Lenders also desire to retain EBF as the loan servicer to act as their agent to
                employ commercially reasonable and prudent practices to collect all scheduled payments
                on the Loan, and to protect to the best of the Servicer’s ability, the security for the Loan.

                                                         AGREEMENT

                    NOW, THEREFORE, in consideration of the foregoing premises and for other
                good and valuable consideration, the receipt and sufficiency of which are hereby
                acknowledged, EBF and the Lenders agree as follows:




                                                                                                           2
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                1.   DEFINED TERMS.

                     As used in this Agreement, and unless the context requires a different meaning, the
                following terms have the respective meanings indicated below, all such definitions to be
                equally applicable to the singular and plural forms of the terms defined.

                     Actionable Default – means the existence and continuance of any Event of Default
                (as defined in the Note) beyond any grace period in respect thereof provided in the Note
                or the acceleration of the maturity of the Note.

                     Affiliate – means, with respect to any specified Person, any other Person that
                directly or indirectly, through one or more intermediaries, has control of, is controlled by,
                or is under common control with, such specified Person. For these purposes, “control”
                means the possession, directly or indirectly, of the power to direct or cause the direction
                of the management of any Person, whether through the ownership of voting securities, by
                contract or otherwise.

                     Agent Professionals – means attorneys, legal counsel, accountants, appraisers,
                business valuation experts, environmental engineers, turnaround consultants, or other
                professionals or experts at any time retained by EBF in the discharge of its duties
                hereunder or under any of the Collateral Documents.

                     Agent-Related Persons – means EBF, in its capacity as Collateral Agent or Servicer,
                and any successor collateral agent or loan servicer, and any co-agents or separate agents
                appointed pursuant to Section 5, together with their respective Affiliates, and the officers,
                directors, employees, representatives, agents and Agent Professionals of such Persons
                and Affiliates.

                      Agreement – has the meaning specified for such term in the Preamble hereto.

                   Business Day – means a day (i) other than Saturday or Sunday and (ii) on which
                commercial banks are open for business in New York, New York.

                      Collateral – has the meaning specified for such term in Mortgage.

                      Collateral Agent – has the meaning specified for such term in the Preamble hereto.

                     Collateral Documents – means the Mortgage and any other document now or
                hereafter evidencing a security interest, lien or other encumbrance granted to secure the
                obligations payable under the Note or any guarantee thereof.

                    Enforcement Notice – means a written notice given by the Required Lenders to the
                Collateral Agent stating that an Actionable Default exists.

                      EBF– has the meaning specified for such term in the Preamble hereto.

                      Lenders – has the meaning specified for such term in the Preamble hereto.

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                      Liens – means any pledges, liens, claims, encumbrances or security interests.

                      Mortgage – has the meaning specified for such term in Note.

                     Obligations – means and includes all present and future indebtedness, obligations
                and liabilities of every kind and nature of the Borrower from time to time owed to any
                Lender under the Note arising from, evidenced by or relating to the Note or the Mortgage.

                      Note – has the meaning specified for such term in Recital A hereto.

                    Person – means any individual, partnership, corporation, limited liability Borrower,
                unincorporated organization or association, trust or other entity.

                     Required Lenders – means the Lenders acting by a majority of principal advanced
                by the Lenders under the Note.

                      Servicer – has the meaning specified in the Preamble hereto.

                    Total Investments – means, with respect to Investments that remain outstanding in
                whole or in part, the total original amount of Investments a Lender has loaned to the
                Borrower; provided that for purposes of Section 10(e) hereof, such amounts shall be
                rounded down to the nearest whole $25,000 increment. By way of example only, if actual
                Total Investments equaled $176,000, for purposes of Section 10(e), such Total
                Investments would equal $175,000.

                2.   APPOINTMENTS; IRREVOCABLE DELEGATION OF AUTHORITY.

                     (a) Appointment as Collateral Agent and Loan Servicer.

                     The Lenders hereby appoint and designate EBF as collateral agent on their behalf
                hereunder and under the Mortgage. The Lenders hereby also appoint and designate EBF
                as the loan servicer with respect to the Loan. EBF hereby accepts such appointments on
                the terms and conditions set forth herein and acknowledges that it holds the Collateral
                and acts under the Mortgage as agent for and on behalf of the Lenders. The Lenders
                hereby authorize and direct the Collateral Agent to (a) enter into the Mortgage and the
                Note for and on behalf of and for the benefit of the Lenders in accordance with the terms
                hereof and thereof, (b) exercise such rights and powers under this Agreement, the Note or
                the Mortgage as the case may be, as are specifically granted or delegated to the Collateral
                Agent by the terms hereof and thereof, together with such other rights and powers as are
                reasonably incidental thereto or as are customarily and typically exercised by agents
                performing duties similar to the duties of the Collateral Agent hereunder and under the
                Collateral Documents, subject, however, to any express limitations set forth herein or in
                the Mortgage, and (c) perform the obligations of the Collateral Agent thereunder. The
                Lenders hereby agree to be bound by the provisions of the Mortgage and the Note. The
                duties of the Collateral Agent and the Servicer shall be deemed ministerial and
                administrative in nature, and neither the Collateral Agent nor the Servicer shall have, by
                reason of this Agreement or either of the Mortgage or the Note, a fiduciary relationship
                with any Lender and/or any Affiliate thereof.
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                     (b) Irrevocable Delegation of Authority.

                    Each Lender does hereby irrevocably delegate to the Collateral Agent all of each
                such Lender’s rights and powers under the Note and the Mortgage and agrees for the
                benefit of the Collateral Agent and the other Lenders not to exercise any right or power of
                such Lender under the Note or the Mortgage.

                3.   LIMITATIONS ON DUTIES AND ACTIONS OF COLLATERAL AGENT AND
                     THE SERVICER.

                    Neither the Collateral Agent nor the Servicer shall have any duties or responsibilities
                except those expressly set forth in this Agreement and the Mortgage. Neither the
                Collateral Agent nor the Servicer shall be liable for any action taken or omitted by it, or
                any action suffered by it to be taken or omitted, excepting only its own gross negligence
                or willful misconduct, as finally determined by a court of competent jurisdiction. IN
                THE ABSENCE OF WRITTEN INSTRUCTIONS FROM THE REQUIRED LENDERS,
                NEITHER THE COLLATERAL AGENT NOR THE SERVICER SHALL FORECLOSE
                UPON ANY LIEN WITH RESPECT TO ANY OF THE COLLATERAL OR TAKE
                ANY OTHER ACTION WITH RESPECT TO THE COLLATERAL OR ANY PART
                THEREOF.

                4.   RECOURSE THROUGH                        COLLATERAL     AGENT;       SHARING         OF
                     COLLATERAL.

                     (a) Recourse Through Collateral Agent.

                     Each of the Lenders acknowledges and agrees that (i) it shall only have recourse to
                the Collateral through the Collateral Agent and that it shall have no independent recourse
                to the Collateral and (ii) the Collateral Agent shall have no obligation to, and shall not,
                take any action hereunder or under the Mortgage except upon written instructions from
                the Required Lenders in accordance with Section 6(a).

                     (b) Sharing of Collateral.

                     No Lender shall contest the validity, perfection, priority or enforceability of, or seek
                to avoid, any Lien securing any Obligation, and each party hereby agrees to cooperate, at
                no cost to the Collateral Agent, in the defense of any action contesting the validity,
                perfection, priority or enforceability of any such Lien. No Lender shall have the right to
                obtain any of the Collateral or the benefit of any Lien on any property of the Borrower
                solely in respect of Obligations owing to such Lender or any group of Lenders comprised
                of less than all the Lenders.

                5.   CO-AGENTS; COLLATERAL AGENT’S AND SERVICER’S USE OF
                     PROFESSIONALS.

                     (a) Co-Agents.

                      Each of the Collateral Agent and the Servicer shall have power to appoint one or

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                more Persons to act as a co-agent or co-agents, jointly with the Collateral Agent and/or
                the Servicer, or to act as a separate agent or separate agents, with respect to all or any part
                of the Collateral or to enforce the Lender’s rights under the Note, and to vest in such
                Person or Persons, in such capacity, such rights, powers, duties and obligations of the
                Collateral Agent and/or the Servicer, with the consent of the Required Lenders (such
                consent not to be unreasonably withheld or delayed), in any case only as may be
                necessary or desirable for the purpose of meeting any legal requirements of any
                jurisdiction in which any part of the Collateral may at the time be located. Absent any
                specific agreement to the contrary, any co-agent or co-agents or separate agent or
                separate agents so appointed shall, to the extent applicable, have the rights, powers,
                obligations and duties of the Collateral Agent and/or the Servicer hereunder. Neither the
                Collateral Agent nor the Servicer shall be responsible for the negligence, default or
                misconduct of any such co-agent or separate agent selected by it with reasonable care nor
                for any fees or expenses of such co-agent or separate agent.

                     (b) Agent Professionals.

                     The Collateral Agent and the Servicer may employ one or more Agent Professionals
                to advise or assist it from time to time, but shall not be responsible for the negligence,
                default or misconduct of any such Agent Professionals selected by it with reasonable care.
                The Collateral Agent and the Servicer shall be entitled to rely on the advice and
                statements of Agent Professionals so selected. The Borrower shall pay reasonable
                remuneration for all services performed by Agent Professionals for the Collateral Agent
                and the Servicer in the discharge of its duties hereunder and under the Collateral
                Documents in accordance with Section 11(b) hereof.

                6.   INSTRUCTIONS FROM LENDERS; ENFORCEMENT NOTICE.

                     (a) Instructions from Lenders.

                     Unless otherwise excused as provided herein, both the Collateral Agent and the
                Servicer shall act on all written instructions received from the Required Lenders, with
                respect to any action to be taken or not to be taken in connection with this Agreement, the
                Mortgage or the Note, including, without limitation, actions to be taken in connection
                with an insolvency proceeding in respect of the Borrower; provided, however, that the
                Collateral Agent shall act only on written instructions from all Lenders with respect to the
                amendment or termination of the Mortgage, or, except as provided in the Mortgage, any
                Lien on property of the Borrower granted under the Mortgage. If either the Collateral
                Agent or the Servicer shall request instructions from the Lenders with respect to taking
                any particular action in connection with this Agreement, the Mortgage, the Note or any
                such Lien, the Collateral Agent and the Servicer shall be entitled to refrain from taking
                such particular action unless and until it shall have received written instructions from the
                Required Lenders (in which event it shall be required to act in accordance with such
                written instructions unless otherwise excused as provided herein), and neither the
                Collateral Agent nor the Servicer shall incur any liability to any Person for so refraining.
                Without limiting the foregoing, no Lender shall have any right of action whatsoever
                against the Collateral Agent or the Servicer as a result of the Collateral Agent or the

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                Servicer taking or not taking any action hereunder or pursuant to or in accordance with
                the written instructions of such Required Lenders, except for the Collateral Agent’s or the
                Servicer’s own gross negligence or willful misconduct in connection with any action
                taken or not taken by it, as finally determined by a court of competent jurisdiction.
                Notwithstanding anything to the contrary contained in this Agreement or any of the
                Collateral Documents, (i) the failure of the Collateral Agent or the Servicer to take any
                action shall not constitute gross negligence or willful misconduct by the Collateral Agent
                or the Servicer hereunder (A) following a request by the Collateral Agent or the Servicer
                for the Required Lenders’ consent to such action and the failure of the Required Lenders
                to respond to such request or (B) in the absence of written instructions from the Required
                Lenders and (ii) neither the Collateral Agent nor the Servicer shall be required to take any
                action that is, in its opinion (which may be, but is not required to be, based on the advice
                of legal counsel), contrary to applicable law or the Note or the Mortgage or that would, in
                its reasonable opinion, subject it or any Agent-Related Persons to liability or that would
                require it to expend or risk its own funds.

                     (b) Enforcement Notices.

                     The Collateral Agent shall, as soon as practicable but in any event, if applicable,
                within ten (10) Business Days following receipt thereof, furnish to each of the Lenders:

                           (i) a copy of each Enforcement Notice received by the Collateral Agent;

                         (ii) a copy of each certificate or other written notice received by the Collateral
                 Agent rescinding or withdrawing an Enforcement Notice;

                         (iii) a copy of any written notice or other written communication given or
                 received by the Collateral Agent under the Note or the Mortgage; and

                         (iv) such other written notices required by the terms of this Agreement to be
                 furnished by or to the Collateral Agent.

                     Any Enforcement Notice shall be deemed to have been given when actually received
                by the Collateral Agent and to have been rescinded or withdrawn when the Collateral
                Agent has actually received from the notifying party a written notice rescinding or
                withdrawing such Enforcement Notice. Any Enforcement Notice shall be deemed to be
                outstanding and in effect at all times after such notice has been given until such time, if
                any, as such notice has been rescinded or withdrawn.

                7.   NO RESPONSIBILITY OF COLLATERAL AGENT OR SERVICER FOR
                     CERTAIN MATTERS.

                    Neither the Collateral Agent nor the Servicer shall be responsible in any manner
                whatsoever for the correctness of any recitals, statements, information, representations or
                warranties contained herein or in the Mortgage except for those made by it herein.
                Neither the Collateral Agent nor the Servicer makes any representation or warranty as to,
                and is not responsible in any way for: (i) the description, value, location, existence, or
                condition of any Collateral; (ii) the financial condition of the Borrower or the title of the
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                Borrower to any of the Collateral; (iii) the sufficiency of the security afforded by this
                Agreement, the Note or the Mortgage or whether registration in respect thereof has been
                properly effected or maintained; (iv) the validity, genuineness, correctness, perfection, or
                priority of any Lien with respect to the Collateral; (v) other than in respect of itself as to
                the Collateral Agent’s and the Servicer’s representations in Section 15(p) hereof, the
                validity, proper execution, enforceability, legality, or sufficiency of this Agreement, the
                Note, the Mortgage or any instrument deposited with the Collateral Agent or the Servicer;
                (vi) the identity, authority or right of any Lender executing any document; or (vii) the
                filing or renewal of any registration of the Mortgage or any public filing required under
                applicable law to perfect any of the Collateral Agent’s Liens, for the benefit of the
                Lenders, in any of the Collateral. Neither the Collateral Agent nor the Servicer shall be
                required to ascertain or inquire as to the performance by the Borrower of any of its
                covenants or obligations hereunder or under the Mortgage or the Note. In no event shall
                either the Collateral Agent or the Servicer be responsible or liable for special, indirect, or
                consequential loss or damage of any kind whatsoever (including, but not limited to, loss
                of profit) irrespective of whether the Collateral Agent or the Servicer has been advised of
                the likelihood of such loss or damage and regardless of the form of action.

                8.   LIMITED  DUTIES  OF   COLLATERAL    AGENT    REGARDING
                     COLLATERAL; FURTHER ACTS WITH RESPECT TO COLLATERAL.

                     (a) The Collateral Agent shall not be responsible for insuring any of the Collateral
                or for the payment of taxes, charges, fines, levies, assessments or for ensuring or
                protecting the validity, genuineness, correctness, perfection, or priority of any Lien upon
                any of the Collateral, and shall be indemnified therefor as provided in Section 12.
                Furthermore, the Collateral Agent shall not be responsible for the maintenance or
                safeguarding of any Collateral, except as provided in the immediately following sentence
                when the Collateral Agent has actual possession of any Collateral. The Collateral Agent
                shall not have any duty to any of the Lenders with respect to any Collateral, including,
                without limitation, any Collateral in its possession or control or in the possession or
                control of any agent or nominee of the Collateral Agent selected by it with reasonable
                care, or any income therefrom or for the preservation of rights against prior parties or any
                other rights pertaining to the Collateral, except as stated in the next succeeding paragraph.

                     (b) Beyond the exercise of reasonable care in the custody thereof and the duty to
                account for monies actually received by it, the Collateral Agent shall have no duty as to
                any Collateral in its possession or control or in the possession or control of any agent or
                bailee or any income thereon or as to preservation of rights against prior parties or any
                other rights pertaining thereto and the Collateral Agent shall not be responsible for filing
                any financing or continuation statements or recording any documents or instruments in
                any public office at any time or times or otherwise perfecting or maintaining the
                perfection of any security interest in the Collateral. The Collateral Agent shall be
                deemed to have exercised reasonable care in the custody of the Collateral in its
                possession if the Collateral is accorded treatment substantially equal to that which it
                accords its own property and shall not be liable or responsible for any loss or diminution
                in the value of any of the Collateral, by reason of the act or omission of any carrier,
                forwarding agency or other agent or bailee selected by the Collateral Agent with
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                reasonable care. The Collateral Agent shall not be responsible for the existence,
                genuineness or value of any of the Collateral or for the validity, perfection, priority or
                enforceability of the Liens in any of the Collateral, whether impaired by operation of law
                or by reason of any action or omission to act on its part hereunder, except to the extent
                such action or omission constitutes gross negligence, bad faith or willful misconduct on
                the part of the Collateral Agent, or for the validity or sufficiency of the Collateral or any
                agreement or assignment contained therein, for the validity of the title of the Borrower to
                the Collateral, for insuring the Collateral or for the payment of taxes, charges,
                assessments or Liens upon the Collateral or otherwise as to the maintenance of the
                Collateral.

                9.   DUTIES AS LOAN SERVICER.

                     (a) Specific Loan Services/Functions.

                      In its capacity as the Servicer, EBF shall: (a) issue payment coupons or monthly
                statements to the Borrower directing Loan repayment to the Lenders or the Servicer;
                (b) issue payoff demands, beneficiary statements and mortgage ratings; (c) demand,
                receive and collect all Loan payments, deposit them by the next business day into the
                Servicer’s trust account and/or facilitate having them paid directly to Lender, in each case
                within 25 days of the date due; (d) issue annual Form 1099 income tax statements to the
                Borrower and Lenders; (e) answer Borrower inquiries, demands and requests; (f) grant
                appropriate payment deferrals, but not of the maturity of the Loan unless approved by the
                Required Lenders; (g) monitor the continued effectiveness and claims on any property
                insurance listed in the Loan escrow instructions; (h) request and receive notices of default
                on senior liens; (i) receive notices of property tax delinquencies, should a tax service be
                ordered through escrow or subsequently; and (j) execute and deliver on Lenders’ behalf
                and in Lenders’ name any documents necessary or convenient for the purpose of
                maintaining or enforcing the Loan.

                     (b) Protective Advances.

                     Upon request of the Servicer, Lenders shall make such advances as approved by the
                Required Lenders to be necessary and prudent to protect and to collect Lenders’ interest
                in the Loan. If any Lender fails to make advances approved by the Required Lenders, the
                other Lenders are authorized to advance the amount the non-paying Lender failed to
                advance and to receive payment in full with interest at 10% per annum before any further
                payments are made to the non-paying Lender and, the non-defaulting Lenders shall also
                have the option, exercisable within 30 days after Lender’s failure to pay, to purchase such
                Lender’s interest in the Loan for the outstanding principal balance and any accrued
                interest, fees and costs owed to the defaulting Lender, payable within 15 days after the
                election to purchase is made. The Servicer, in its absolute discretion, may advance its
                own funds to protect the security of the Loan, including advances to cure senior liens,
                property insurance, foreclosure expenses, repair, advertising, litigation expenses and
                similar items, but not Loan payments. The Servicer shall be reimbursed such advances,
                with interest at the interest rate then payable with respect to the Loan, from the next Loan
                payment, or within 10 days after a written request to Lenders. To secure the Servicer’s

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                advances, Lenders hereby irrevocably assign to the Servicer, to the extent of advances
                owed to the Servicer, the first Loan payments received after an advance is made. A
                defaulting or non-paying Lender will be liable to the remaining Lenders for all damages
                incurred as result of his/her/their failure to act or failure to advance funds including, but
                not limited to, actual attorneys’ fees, court costs and fees, or any damages related to loss
                of the security for the Loan.

                     (c) Loan Documents.

                     To the extent not maintained by the Collateral Agent, the Servicer shall retain
                custody as agent for Lenders of the original Note and Mortgage.

                     (d) Real Estate Owned.

                     The Servicer is also Lenders’ agent (in conjunction with the Collateral Agent) to
                liquidate any real estate acquired by Lenders in foreclosure of the property securing the
                Loan (the “Property”). During the foreclosure process, the Servicer’s servicing fee shall
                continue as set forth in Section 12 herein. Additionally, at the option of Lenders and by
                separate fee agreement to be signed by the parties, the Servicer shall: (i) arrange
                appropriate property insurance; (ii) manage the Property, including arranging
                maintenance and construction, tenant relations, repair and security; (iii) arrange for the
                valuation and resale of the Property, including hiring a Realtor® or broker to list, show
                and sell the Property; and (iv) accept reasonable offers on the Property, at the price and
                terms approved by the Required Lenders and execute all necessary and appropriate
                documentation to carry out the sale.

                     (e) Servicing Fees.

                     The Servicer's fee to each Lender to service any Loan shall be up to % interest per
                annum on the Investment made by such Lender in the Loan, as such amount may adjust
                from time to time upon making an Investment in the Loan (or upon making
                Investments in any other Loan) in accordance with this Section (e). The Servicer’s fee
                to a Lender in respect of its Investment VKDOOEHWKHVSHFLILHGLQWHUHVWSHUDQQXPOLVWHGRQ
                WKHVLJQHG([KLELW$WRWKH1RWHDQGWKHVLJQHG([KLELW$WRWKH0RUWJDJHSURYLGHGLQ
                WKHLQYHVWPHQWSDSHUZRUNDQGVLJQHGE\WKH/HQGHU




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                     The fee is deducted from the interest payment payable by the Borrower under the
                Note. The Servicer shall be further compensated for work in respect of delinquent
                payments or other default by Borrower by assessing and receiving late charges, and by
                collecting an additional 2% of the principal amount of the Loan of any payments
                (whether interest or late fees) made to Lenders (or for their benefit) after the assessment
                of default interest on the Borrower under the Note that equal or exceed 2% interest per
                annum of the principal amount of the Loan. Said additional amounts shall only be
                collected if default interest is, in fact, charged to the Borrower. Lenders shall receive any
                benefit of the default interest rate and late fee payments in excess of the 2% interest per
                annum on the principal amount of the Loan collected by the Servicer.




                      (f) Origination Fee.

                       On the Closing Statement of the Loan the Collateral Agent may charge the
                Borrower an origination fee (“Origination Fee”) of up to 5% of the principal amount of
                the Loan.




                10. RELIANCE ON WRITINGS.


                     Both the Collateral Agent and the Servicer shall be entitled and fully authorized to
                rely and act, and shall be fully protected in relying and acting, upon any writing,
                instruction, resolution, notice, consent, certificate, affidavit, letter, telegram, facsimile,
                telex or other document believed by it to be genuine and correct and to have been signed
                or sent by or on behalf of the proper Person or Persons, and statements of the Borrower
                (including, without limitation, counsel to the Borrower) or the Lenders. Neither the
                Collateral Agent nor the Servicer shall have any duty to verify or confirm the content of
                any writing, instruction, resolution, notice, consent, certificate, affidavit, letter, telegram,
                facsimile, telex or other document.




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                 11. RESIGNATION AND REMOVAL OF COLLATERAL AGENT AND/OR
                     SERVICER.

                     (a) Resignation or Removal.

                      Both the Collateral Agent and the Servicer may at any time resign, effective upon 30
                days prior written notice (or such shorter period as may be agreed to by the Required
                Lenders and such party) to the Lenders and the Borrower, and either may be removed for
                or without cause at any time by the Required Lenders, effective upon 30 days’ notice. In
                the event of any resignation or removal, the Required Lenders shall have the right to
                appoint a successor Collateral Agent and/or Servicer (which successor Collateral Agent
                and/or Servicer may be one of the Lenders or a financial institution that is engaged in the
                provision of agency services in syndicated commercial loan transactions or a trust
                Borrower that is engaged in the provision of trust services in secured private placement
                transactions), but, if the Required Lenders have not appointed a successor Collateral
                Agent and/or Servicer, as the case may be, within 30 days after the resigning Collateral
                Agent’s and/or Servicer’s giving of notice of resignation or its removal, the retiring
                Collateral Agent and/or Servicer, as the case may be, shall, at the expense of the
                Borrower, on behalf of the Lenders, subject to the above provision regarding the identity
                and nature of a permissible successor Collateral Agent and/or Servicer, either appoint a
                successor Collateral Agent and/or Servicer or apply to the appropriate court to make such
                appointment. Upon the acceptance of any appointment as a Collateral Agent and/or
                Servicer, as the case may be, hereunder by a successor, to be evidenced by the successor
                Collateral Agent’s or Servicer’s, as the case may be, execution and delivery to the
                Borrower, the Lenders and the retiring Collateral Agent and/or Servicer, as the case may
                be, of a counterpart of this Agreement, such successor Collateral Agent and/or Servicer,
                as the case may be, shall thereupon succeed to and become vested with all the rights,
                powers, privileges, duties and obligations of the retiring Collateral Agent and/or Servicer,
                as the case may be, and the retiring Collateral Agent and/or Servicer, as the case may be,
                shall be discharged from any further duties and obligations as Collateral Agent and/or
                Servicer, as the case may be, as appropriate, under this Agreement, the Note and the
                Mortgage. The payment and indemnity obligations of the Borrower provided for in
                Section 12 shall survive any such removal or resignation in favor of the retiring Collateral
                Agent and/or Servicer, as the case may be, in respect of any matter arising during or after
                its tenure as Collateral Agent and/or Servicer, as the case may be. For the avoidance of
                doubt, removal hereunder of EBF as the Collateral Agent in no way constitutes a removal
                of EBF as the Servicer and vice versa.

                     (b) Vesting.

                     Upon the request of any successor Collateral Agent and/or Servicer, at the expense
                of the Borrower, the Lenders, the Borrower and the predecessor Collateral Agent and/or
                Servicer, as the case may be, shall promptly execute and deliver such instruments,
                conveyances, and assurances reflecting terms consistent with the terms hereof, the
                Mortgage and the Note for the purpose of more fully and certainly vesting and
                confirming in such successor Collateral Agent and/or Servicer, as the case may be, its

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                interest in, and Liens upon, the Collateral and all rights, powers, duties, and obligations
                of the predecessor Collateral Agent and/or Servicer, as the case may be, hereunder and
                under the Mortgage and the Note, and the predecessor Collateral Agent and/or Servicer,
                as the case may be, shall also promptly assign and deliver to the successor Collateral
                Agent and/or Servicer, as the case may be, any Collateral subject to the Liens of the
                Mortgage that may then be in its possession, as applicable.

                     (c) Successors.

                    Any entity into which a Collateral Agent or Servicer may be amalgamated or merged,
                or with which it may be consolidated, or any entity resulting from any amalgamation,
                merger or consolidation to which a Collateral Agent or Servicer shall be a party, as a
                whole or substantially as a whole, shall be the successor of such Collateral Agent or
                Servicer hereunder if legally bound hereby as such successor, without the necessity for
                execution or filing of any paper or any further act on the part of any of the parties hereto,
                anything to the contrary contained herein notwithstanding.

                12. FEES TO COLLATERAL AGENT; PAYMENTS; INDEMNITY.

                     (a) Fees.

                     In addition to any other fees owed to Servicer or Collateral Agent from either (i)
                Borrower, and paid by Borrower to Servicer or Collateral Agent, or (ii) Lender, and paid
                by Borrower out of amounts otherwise due to Lender, the Lender shall pay to the
                Collateral Agent all fees required to be paid under the Fee Schedule attached hereto
                as Schedule I with respect to this Agreement at the times and in the amounts set forth
                therein. Any amounts owed by Lender may, at Collateral Agent’s discretion, be paid by
                Borrower out of amounts otherwise payable from Borrower to Lender.

                     (b) Payment by the Borrower.

                     The Borrower agrees that it will pay all of the Collateral Agent’s and the Servicer’s
                fees, as applicable, including those owed by the Lender listed on Schedule I, which shall
                be paid by the Borrower on behalf of the Lender out of amounts otherwise due to the
                Borrower, for its respective services hereunder and will pay or reimburse the Collateral
                Agent and the Servicer upon its request for all of their respective expenses, disbursements
                and advances incurred or made in the administration of their respective duties hereunder
                and under the Note and the Mortgage, as applicable (including, without limitation,
                reasonable legal fees and expenses and the reasonable compensation of all Agent
                Professionals, Agent-Related Persons and other advisers, agents or experts employed or
                retained by the Collateral Agent or the Servicer pursuant to this Agreement). In addition
                to and without limiting any other protection of the Collateral Agent and/or the Servicer
                hereunder or otherwise by law, the Borrower shall indemnify the Agent-Related Persons
                for any and all liabilities, obligations, losses, damages, penalties, actions, claims,
                demands, judgments, suits, costs, expenses or disbursements of any kind or nature
                whatsoever that may be suffered by, imposed on, incurred by or asserted against any
                Agent-Related Person, whether groundless or otherwise, howsoever arising from or out

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                of, or in any way related to the subject matter of, this Agreement, the Note, the Mortgage
                or any of the Collateral or the performance or enforcement of any of the terms of any
                thereof, including fees and expenses of special counsel; provided that the Borrower shall
                not be liable for any such payment to any Agent-Related Person to the extent the
                obligation to make such payment has been caused by such Agent-Related Person’s own
                gross negligence or willful misconduct, as finally determined by a court of competent
                jurisdiction. All statements from the Collateral Agent, the Servicer or any other Person
                for obligations owing by the Borrower pursuant to the preceding sentence shall be sent to
                the Borrower. Any amount due under this Section 12(b) and unpaid 10 Business Days
                after request for such payment will bear interest from the expiration of such 10 Business
                Days at a rate per annum equal to two percent (2%) above the rate of interest publicly
                announced by JPMorgan Chase Bank, N.A. from time to time in New York City as its
                prime rate, payable on demand. If not timely paid by the Borrower, at the Collateral
                Agent’s or the Servicer’s election, all amounts so payable and the interest thereon will be
                payable out of any assets in the possession of the Collateral Agent and/or the Servicer
                and any other Collateral in priority to amounts owing to any and all other parties to this
                Agreement.

                     (c) Survival.

                     The obligations of the Borrower and the Lenders under this Section 12 shall survive
                the payment in full of all of the other Obligations, the resignation or removal of the
                Collateral Agent and/or the Servicer and the termination of this Agreement.

                13. COLLATERAL AGENT’S AND SERVICER’S FUNDS NOT AT RISK.

                     For purposes of clarity, no provision of this Agreement or the Mortgage, and no
                request of any Lender or other Person shall require either the Collateral Agent or the
                Servicer to expend or risk any of its own funds, or to take any legal or other action under
                this Agreement, the Note or the Mortgage which might, in its reasonable judgment,
                involve any expense or any financial or other liability unless the Collateral Agent or the
                Servicer shall be furnished with indemnification acceptable to it, acting reasonably,
                including the advance of funds sufficient in the judgment of the Collateral Agent or the
                Servicer, as applicable, to satisfy such liability, costs and expenses.

                14. INDEPENDENT CREDIT DECISIONS.

                     Each Lender acknowledges that it has, independently and without reliance upon the
                Collateral Agent, the Servicer or any other Lender and based upon such documents and
                information as it has deemed appropriate, made its own credit analysis and decision to
                enter into this Agreement. Each Lender also acknowledges that it will, independently
                and without reliance upon any of the Collateral Agent, the Servicer or any other Lender
                and based upon such documents and information as it shall deem appropriate at the time,
                continue to make its own credit decisions in taking or not taking action under this
                Agreement.

                15. DETERMINATION OF LENDERS; SUBSEQUENT LENDERS BOUND.

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                     The Collateral Agent and the Servicer may deem and treat the payee of any
                promissory note or other evidence of indebtedness or obligation relating to any
                Obligation as the owner thereof for all purposes hereof unless and until (i) a written
                notice of the assignment or transfer thereof signed by such payee and (ii) a written
                acknowledgment agreeing to be bound by the terms hereof and such other documents
                required by Section 16(d), each signed by the assignee or transferee, and in form
                reasonably satisfactory to the Collateral Agent and/or the Servicer, shall have been filed
                with the Collateral Agent and/or the Servicer, as applicable. Any request, authority or
                consent of any Person who at the time of making such request or giving such authority or
                consent is the holder of any such note or other evidence of indebtedness or obligation,
                shall be conclusive and binding on any subsequent holder, transferee or assignee of such
                note or other evidence of indebtedness or obligation and of any note or notes or other
                evidences of indebtedness or obligation issued in exchange therefor.

                16. MISCELLANEOUS.

                     (a) Notices.

                     All notices, requests and other communications shall have been duly given and shall
                be effective (a) when delivered by hand, (b) when transmitted via telecopy or email (or
                other facsimile device) with receipt confirmed with respect to telecopy, (c) the Business
                Day next following the day on which the same has been delivered prepaid to a reputable
                national overnight air courier service, or (d) the third Business Day next following the
                day on which the same is sent by certified or registered mail, postage prepaid, in each
                case to the respective parties at the address, telecopy number or email address as
                provided in the immediately succeeding sentence; provided, however, that if any notice is
                delivered on a day other than a Business Day, or after 5:00 P.M. (Eastern time) on any
                Business Day, then such notice shall not be effective until the next Business Day. For
                purposes hereof, the address of each party hereto and its facsimile number or email
                address (until written notice of a change thereof is delivered to the Collateral Agent, the
                Servicer, the Borrower and each Lender) shall be as set forth in Schedule II hereto, or at
                such other address as such party may specify by written notice to the other parties hereto.
                Notices to any Person that becomes a holder of Obligations after the date hereof shall be
                given to such address or facsimile number or email address of which such Person shall
                have given written notice to the Collateral Agent, the Servicer and the Borrower.

                     (b) Amendments.

                     No provision of this Agreement may be amended or waived except by a writing
                signed    by    the    Required     Lenders,    the     Collateral    Agent    and   the
                Servicer; provided, however, that any amendment expanding the obligations or liabilities
                of the Borrower either hereunder or thereunder shall require the Borrower’s consent.

                     (c) Conflicts with Collateral Documents and other Transaction Documents.

                     The Collateral Agent, the Servicer and the Lenders agree that, if any provision of
                this Agreement is inconsistent with or contrary to any provisions in the Note or the

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                Mortgage, the provisions of this Agreement shall prevail as between and among the
                Collateral Agent, the Servicer and the Lenders.

                     (d) Successors and Assigns.

                     This Agreement shall be binding upon, and inure to the benefit of, the Collateral
                Agent, the Servicer and the Lenders and their respective successors and assigns. If any
                Lender shall assign or transfer the Obligations owing to it, it shall promptly so notify the
                Collateral Agent and the Servicer in writing. No Lender which assigns or transfers any
                Obligations owing to it shall assign or transfer its benefits under the Collateral
                Documents without obtaining from the assignee or transferee and delivering to the
                Collateral Agent, the Servicer and the Lenders a joinder agreement and an executed
                acknowledgment of the assignee or transferee agreeing to be bound by the terms hereof to
                the same extent as if it had been a Lender on the date hereof. Each assignee or transferee
                of any Obligations shall take such Obligations subject to the provisions of this Agreement
                and to any request made, waiver or consent given or other action taken or authorized
                hereunder by each previous holder of such Obligations prior to the receipt by the
                Collateral Agent and the Servicer of written notice of such assignment or transfer; and,
                except as expressly otherwise provided in such notice, the Collateral Agent and/or the
                Servicer shall be entitled to assume conclusively that the assignee or transferee named in
                such notice shall thereafter be vested with all rights and powers as a Lender under this
                Agreement (and the Collateral Agent and the Servicer may conclusively assume that no
                Obligations have been subject to any assignment or transfer other than transfers of which
                the Collateral Agent and the Servicer have received such a notice). Upon the written
                request of any Lender or the Borrower, the Collateral Agent and the Servicer will provide
                such Lender and the Borrower with copies of any written notices of transfer received
                pursuant hereto.

                     (e) Continuing Effectiveness.

                     This Agreement shall continue to be effective among the Collateral Agent, the
                Servicer and the Lenders even though a case or proceeding under any bankruptcy or
                insolvency law or any proceeding in the nature of a receivership, whether or not under
                any insolvency law, shall be instituted with respect to the Borrower or any portion of the
                property or assets of the Borrower, and all actions taken by the Collateral Agent with
                respect to the Collateral or by the Collateral Agent, the Servicer and the Lenders with
                regard to such proceeding shall be determined by the Required
                Lenders; provided, however, that nothing herein shall be interpreted to preclude any
                Lender from filing a proof of claim with respect to its Obligations or from casting its vote,
                or abstaining from voting, for or against confirmation of a plan of reorganization in a case
                of bankruptcy, insolvency or similar law in its sole discretion.

                     (f) Further Assurances.

                    Each party and the Borrower agrees to do such further acts and things and to execute
                and deliver such additional agreements, powers and instruments as necessary or as any
                Lender or the Collateral Agent or the Servicer may reasonably request to carry into effect

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                the terms, provisions and purposes of this Agreement or to better assure and confirm unto
                the Collateral Agent or the Servicer or any of the other Lenders their respective rights,
                powers and remedies hereunder.

                     (g) Counterparts.

                     This Agreement may be executed in any number of counterparts, all of which taken
                together shall constitute one and the same agreement, and any of the parties hereto may
                execute this Agreement by signing any such counterpart. Delivery of an executed
                counterpart of a signature page to this Agreement by fax or pdf shall be effective as
                delivery of a manually executed counterpart of this Agreement.

                     (h) Effectiveness.

                     This Agreement shall become effective immediately upon execution hereof by the
                Collateral Agent, the Servicer, the Required Lenders and the Borrower, and shall
                continue in full force and effect until 91 days following the date upon which all
                Obligations are irrevocably paid and satisfied in full; provided that, if the Obligations due
                and owing to a Lender have been paid and satisfied in full, then such Lender shall be
                deemed released from this Agreement without any further action being necessary. Any
                such released Lender shall give the Collateral Agent notice of such release but the failure
                to give such notice shall not affect such release.

                     (i) Governing Law.

                   THIS AGREEMENT SHALL BE CONSTRUED AND ENFORCED IN
                ACCORDANCE WITH, AND THE RIGHTS OF THE PARTIES SHALL BE
                GOVERNED BY, THE INTERNAL LAW OF THE STATE OF ILLINOIS,
                EXCLUDING CHOICE-OF-LAW PRINCIPLES OF THE LAW OF SUCH
                STATE THAT WOULD PERMIT THE APPLICATION OF THE LAWS OF A
                JURISDICTION OTHER THAN SUCH STATE.

                     (j) Jurisdiction.

                          (i) Each party hereto irrevocably submits to the non-exclusive jurisdiction of
                 any Illinois state or federal court sitting in Cook County, Illinois, over any suit, action or
                 proceeding arising out of or relating to this Agreement or any of the agreements,
                 documents or instruments delivered in connection herewith or therewith. To the fullest
                 extent permitted by applicable law, the parties hereto irrevocably waive and agree not to
                 assert, by way of motion, as a defense or otherwise, any claim that it is not subject to the
                 jurisdiction of any such court, any objection that it may now or hereafter have to the
                 laying of the venue of any such suit, action or proceeding brought in any such court and
                 any claim that any such suit, action or proceeding brought in any such court has been
                 brought in an inconvenient forum.

                          (ii) Nothing in this Section 16(j) shall affect the right that the Collateral Agent,
                 the Servicer or any of the Lenders to serve process in any manner permitted by law, or
                 limit any right that any party hereto may have to bring proceedings against the Borrower
                                                                                                            
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                 in the courts of any appropriate jurisdiction or to enforce in any lawful manner a
                 judgment obtained in one jurisdiction in any other jurisdiction.

                       (iii) THE PARTIES HERETO IRREVOCABLY WAIVE ALL RIGHT TO
                 TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
                 (WHETHER BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF
                 OR RELATING TO THIS AGREEMENT OR ANY OTHER AGREEMENT,
                 DOCUMENT OR INSTRUMENT DELIVERED IN CONNECTION HEREWITH OR
                 THEREWITH OR THE ACTIONS OF THE LENDERS, THE COLLATERAL AGENT
                 OR THE SERVICER IN THE NEGOTIATION, ADMINISTRATION,
                 PERFORMANCE OR ENFORCEMENT HEREOF OR THEREOF.

                     (k) Headings; Sections.

                     Headings of Sections of this Agreement have been included herein for convenience
                only and should not be considered in interpreting this Agreement. Unless stated
                otherwise in this Agreement, references in this Agreement to Sections are references to
                Sections of this Agreement.

                     (l) No Implied Beneficiaries.

                     Nothing in this Agreement (except Section 16(b)), expressed or implied, is intended
                or shall be construed to confer upon or give to any Person, other than the Lenders, the
                Collateral Agent and the Servicer, any right, remedy or claim under or by reason of this
                Agreement or any covenant, condition or stipulation herein contained.

                     (m) Severability.

                     If any provision of this Agreement shall be held or deemed to be, or shall in fact be,
                inoperative or unenforceable as applied in any particular case in any jurisdiction, or
                because it conflicts with any other provision or provisions hereof or with any constitution
                or statute or rule of public policy, or for any other reason, such circumstance shall not
                have the effect of rendering the provision in question inoperative or unenforceable in any
                other case or circumstance, or rendering any other provision herein contained invalid,
                inoperative or unenforceable to any extent whatsoever. Upon the determination that any
                term or other provision of this Agreement is invalid, illegal or incapable of being
                enforced, the parties hereto shall negotiate in good faith to modify this Agreement so as
                to give effect to their original intention as closely as possible in an acceptable manner to
                the end that the transactions contemplated hereby are fulfilled to the maximum extent
                possible.

                     (n) Obligations Individual.

                     The obligations and representations and warranties of the Collateral Agent, the
                Servicer and each of the Lenders herein are made by each of them individually. Nothing
                herein contained shall be construed as creating among the Lenders, or among the
                Collateral Agent, the Servicer and the Lenders, a partnership, joint venture or other joint
                association.
                                                                                                         
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                     (o) No Obligation to Extend Credit.

                    No provision of this Agreement shall be construed as obligating the Collateral Agent,
                the Servicer or any Lender to advance any monies or otherwise extend credit to the
                Borrower at any time.




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                     (p) Representations of Parties.

                      Each of the Lenders, the Collateral Agent and the Servicer, severally and not jointly,
                represents and warrants to the other parties hereto that such party has all requisite power
                and capacity to execute, deliver and perform this Agreement and that the execution,
                delivery and performance of this Agreement has been duly authorized by all necessary
                action on the part of such party and that this Agreement constitutes the legal, valid and
                binding obligation of such party, enforceable against such party in accordance with its
                terms except as such enforceability may be limited by (i) bankruptcy, insolvency,
                reorganization or similar laws affecting the enforcement of creditors’ rights generally and
                (ii) general principles of equity (regardless of whether such enforceability is considered
                in a proceeding in equity or law).

                     (q) Limitation of Liability Due to Forces Beyond Collateral Agent’s or Servicer’s
                         Control.

                     In no event shall the Collateral Agent or the Servicer be responsible or liable for any
                failure or delay in the performance of its obligations hereunder arising out of or caused
                by, directly or indirectly, forces beyond its control, including, without limitation, strikes,
                work stoppages, accidents, acts of war or terrorism, civil or military disturbances, nuclear
                or natural catastrophes or acts of God, and interruptions, loss or malfunctions of utilities,
                communications or computer (software and hardware) services; it being understood that
                the Collateral Agent and the Servicer shall use reasonable efforts which are consistent
                with accepted practices in the banking industry to resume performance as soon as
                practicable under the circumstances.

                        [Remainder of page intentionally left blank; next page is signature page.]




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                        IN WITNESS WHEREOF, the Collateral Agent, the Servicer and the Lenders
                have executed or caused this Agreement to be duly executed and delivered by their
                respective officers thereunto duly authorized, all as of the date first above written.

                COLLATERAL AGENT:

                EQUITYBUILD FINANCE, LLC, as Collateral Agent on behalf
                of the Lenders listed below

                By:

                Name:
                                 Elizabeth Kammerer
                Title: Asset 0DQDJHU




                SERVICER:

                EQUITYBUILD FINANCE, LLC, as Servicer

                By:

                Name:
                               Elizabeth Kammerer
                Title: Asset0DQDJHU




                              [Signature Page to Collateral Agency and Servicing Agreement]




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                LENDERS:



                By:

                Name: !

                Title:



                By:

                Name:

                Title:



                By:

                Name:

                Title:




                                       [Signature Page to Collateral Agency Agreement]




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                 ACKNOWLEDGED, CONSENTED AND AGREED TO:

                BORROWER:

                EquityBuild, Inc.

                By: ____________________________________

                Name: Elizabeth Kammerer

                Title: Closing Coordinator




                                       [Signature Page to Collateral Agency Agreement]




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                                                             SCHEDULE I

                                          COLLATERAL AGENT FEE SCHEDULE



                Section 1: Payouts

                All payouts paid by check.

                If Lender requests different method, fees are as follows:

                    x    Wire funds:              $50
                    x    Overnight check:         $50
                    x    Direct deposit:          No fee



                Section 2: Buyouts

                If Lender requests principal back prior to Loan’s maturity date (and request granted),
                Lender must pay an early liquidation fee equal to: (i) 12% of the amount being returned
                if the request is made within one year of the date the Loan is funded (the “Origination
                Date”); and (ii) 10% of the amount being returned if the request is made between one and
                two years of the Origination Date. This fee is not intended to be a penalty but is an
                estimate, and indicative, of the actual cost and expenses EBF will incur in conjunction
                with such request.


                EBF reserves the right to extend the maturity date on any Loan at the request of the
                Borrower. At that time, anyone who wishes to not participate in the extension may
                receive a return of their Investment and no fee will be charged in respect thereof .




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                                                             SCHEDULE II

                                                 ADDRESSES FOR NOTICES



                If to EquityBuild Finance, LLC, as either Collateral Agent or Servicer:
                          EquityBuild Finance, LLC
                [Address] 5068 West Plano Pkwy. #300
                          Plano, TX 75093
                Attention: [Elizabeth Kammerer]
                Facsimile: [___________]
                E-mail: [elizabeth@equitybuildfinance.com]


                If to the Lenders:
                          !
                [Name]
                [Address]                
                Attention: [___________]
                Facsimile: [___________]
                E-mail: [

                [Name]
                [Address]
                Attention: [___________]
                Facsimile: [___________]
                E-mail: [___________]

                [Name]
                [Address]
                Attention: [___________]
                Facsimile: [___________]
                E-mail: [___________]


                If to the Borrower:
                          EquityBuild, Inc.
                [Address] 1083 N Collier Blvd. #132
                          Marco Island, FL 34145
                Attention: [Elizabeth Kammerer]
                Facsimile: [___________]
                E-mail: [elizabeth@equitybuild.com]




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Certificate Of Completion
Envelope Id: 457E3DA5EC3A49388D3FFF21E106CCBF                                                  Status: Completed
Subject: Increased Investment Amount - 6217 S Dorchester- Reymone Randall -Investment Packet
Source Envelope:
Document Pages: 42                               Signatures: 3                                 Envelope Originator:
Certificate Pages: 2                             Initials: 1                                   EquityBuild Documents Team
AutoNav: Enabled                                                                               5068 W Plano Pkwy STE 300
EnvelopeId Stamping: Enabled                                                                   Plano, TX 75093
Time Zone: (UTC-06:00) Central Time (US & Canada)                                              docs@equitybuild.com
                                                                                               IP Address: 104.180.17.26

Record Tracking
Status: Original                                 Holder: EquityBuild Documents Team            Location: DocuSign
        2/2/2017 4:50:54 PM                                docs@equitybuild.com

Signer Events                                    Signature                                     Timestamp
EquityBuild Documents Team                                                                     Sent: 2/2/2017 4:54:19 PM
                                                 Completed
docs@equitybuild.com                                                                           Viewed: 2/2/2017 4:54:36 PM
Customer Service Rep                                                                           Signed: 2/2/2017 4:58:06 PM
                                                 Using IP Address: 104.180.17.26
EquityBuild, Inc.
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

Elizabeth Kammerer                                                                             Sent: 2/2/2017 4:58:08 PM
                                                 Completed
elizabeth@equitybuildfinance.com                                                               Viewed: 2/3/2017 7:43:00 AM
Closing Coordinator                                                                            Signed: 2/3/2017 7:44:16 AM
                                                 Using IP Address: 99.99.199.142
EquityBuild, Inc.
                                                 Signed using mobile
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

Reymone Randall                                                                                Sent: 2/3/2017 7:44:18 AM
                                                                                               Viewed: 2/3/2017 10:24:28 AM
Security Level: Email, Account Authentication                                                  Signed: 2/3/2017 10:26:17 AM
(None)
                                                 Using IP Address: 108.161.26.18
                                                 Signed using mobile
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign


In Person Signer Events                          Signature                                     Timestamp

Editor Delivery Events                           Status                                        Timestamp

Agent Delivery Events                            Status                                        Timestamp

Intermediary Delivery Events                     Status                                        Timestamp

Certified Delivery Events                        Status                                        Timestamp

Carbon Copy Events                               Status                                        Timestamp
                 Case: 1:18-cv-05587 Document #: 5-21 Filed: 08/15/18 Page 71 of 83 PageID #:350
Carbon Copy Events                              Status                   Timestamp
Brandon Jenkins                                                          Sent: 2/3/2017 7:44:18 AM
bjenkins@equitybuildfinance.com                                          Viewed: 6/25/2018 1:57:19 PM
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

Tanna Dreiling                                                           Sent: 2/3/2017 10:26:20 AM
tanna@equitybuild.com
Controller
EquityBuild, Inc.
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
   Not Offered via DocuSign

Shawn Flaherty                                                           Sent: 2/3/2017 10:26:20 AM
sflaherty@equitybuildfinance.com
Mortgage Loan Processor
Equitybuild Finance
Security Level: Email, Account Authentication
(None)
Electronic Record and Signature Disclosure:
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Notary Events                                   Signature                Timestamp

Envelope Summary Events                         Status                   Timestamps
Envelope Sent                                   Hashed/Encrypted         2/3/2017 10:26:21 AM
Certified Delivered                             Security Checked         2/3/2017 10:26:21 AM
Signing Complete                                Security Checked         2/3/2017 10:26:21 AM
Completed                                       Security Checked         2/3/2017 10:26:21 AM

Payment Events                                  Status                   Timestamps
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                      EXHIBIT C
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Case: 1:18-cv-05587 Document #: 5-21 Filed: 08/15/18 Page 74 of 83 PageID #:353




                      EXHIBIT D
                 Case: 1:18-cv-05587 NOTIFICATION
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                                                  OF ELECTRONIC       Page 75 of 83 PageID #:354
                                                                    DEPOSIT

                                                                                                           ACCOUNT NO.                               0861
                                                                                                           STATEMENT DATE                      5/25/2018

                                                                                                           STATEMENT SUMMARY

                                                                                                            Date of Deposit                   5/29/2018
                                                                                                            Reference No.                      0023848

                                                                                                            Interest                             252.50
 LENDER                                                                                                     Principal                              0.00
                                                                                                            Servicing Fees                         0.00
  Reymone Randall                                                                                           Other                                  0.00
                                                                                                            Amount Deposited                    $252.50




                                  PLEASE DETACH THE TOP PORTION OF THIS STATEMENT AND RETURN IT WITH YOUR CHANGE OF ADDRESS



                                                              ITEMIZATION OF DEPOSIT
     Loan                                       Payment         Amount         Servicing                                                      Ending
                  Borrower Name                                                                 Interest        Principal      Other
    Number                                      Due Date       Deposited         Fees                                                      Principal Bal.
       2817 6217 S Dorchester-                  5/1/2018          $252.50             $0.00        $252.50            $0.00        $0.00      $50,500.00
                                                                   $252.50            $0.00        $252.50            $0.00        $0.00




Powered by The Mortgage Office™                                                                                                 Friday, May 25, 2018 4:41 PM
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                      EXHIBIT E
6/25/2018                              Gmail#:
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                                                      Filed:Regarding
                                                             08/15/18 YourPage
                                                                          Interest 77
                                                                                   Payment
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                                                                                         Reymone Randall



  Urgent Message Regarding Your Interest Payment
  3 messages

  EquityBuild Updates <updates@equitybuild.com>                                                          Thu, May 24, 2018 at 5:55 PM
  Reply-To: updates@equitybuild.com
  To:




             As many of you know and have experienced, we were faced with an existential question
             around four years ago and opted to protect our clients rather than succumb to the tidal
             wave coming at us. To give further color to my previous statement as both a reminder to
             those that have been through the experience with us and for insight to those that were not
             here then, I will elaborate and tell a bit of the story.

             When we began the concept behind this company in 2005 and then the company itself in
             2006, we were a sales and marketing company specializing in turn-key investment
             properties. We did not have the fulfillment or financing sides of the business in-house;
             instead, we worked with vendors and managed them to a productive end.

             Nothing changed in the model other than the type of investment property we were selling
             until 2010 when the financing part of the business began as a response to the collapse of
             the market in 2008-2009, which lead to a tightening of the capital markets.

             And, again, there was no further change to the model until the middle of 2015 when we
             made the decision I referenced above in response to a fulfillment vendor having defrauded
             us of many millions of dollars. Some of you may have grown weary of the name G-Slow
             but that name is an important part of our history and their fraud was a defining event of our
             company’s trajectory.

             G-Slow was chosen as our sole fulfillment partner in Chicago after much research and
             deliberation. In the early years, the relationship was a solid one with G-Slow being
             comprised of two partners, one of whom was one the country’s most successful Re-Max
             agents and the other that had 46 years of construction management experience with a
             portfolio of over $800mm in managed projects across the country and for companies such
             as Sprint, WalMart, Home Depot, etc. Neither of these individuals was new to the
             fulfillment business and both came with a stellar track record.


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             The relationship began at the end of 2011 and lasted for almost exactly three years.
             Towards the end of 2014 we began seeing contractor’s liens appear on properties for
             which we had paid G-Slow for a renovation but for which they did not pay the contractor
             as evidenced by the liens. The fact that they weren’t paying contractors was not
             discovered prior to the liens because each property was inspected by a professional that
             was under contract with us and G-Slow was filing waivers of liens for the work which
             turned out to be fraudulent. That was the beginning of the end of the relationship but also
             the beginning of a lengthy discovery process to determine the financial impact of all of the
             deceit. That discovery process is still on-going and now totaling over $12mm. If you care
             to read the lawsuit you can click here. As a side note, since filing, we have not updated
             the amounts by which were damaged because they both filed for bankruptcy and there is
             nothing to recover.

             It was then, at the end of 2015, that we were faced with the question as to whether or not
             we should file for bankruptcy and just tell everyone we were sorry but that we couldn’t
             handle the mountain that we needed to climb. We decided to persevere and committed
             ourselves to making our lenders whole by devoting the majority of our profits and shrinking
             the gap over time so that we could shield our clients and honor our original commitments
             to them.

             Following the decision to press on, we were then faced with the reality that we had no
             fulfillment process and no fulfillment vendor yet still, we must continue on. The response
             was to bring all underwriting, buying, construction management and asset management
             in-house. The immediate challenge we were faced with was that our process for each of
             these elements had been driven by the G-Slow process and so we then needed to start
             from scratch. We hired a Director of Operations, an internal Underwriter, a Construction
             Manager and an Asset Manager. To aid in effective underwriting and asset management,
             we also subscribed to highly regarded third party sources such as CoStar, Trepp and
             others. Starting from zero we embarked on a path of continuous improvement that
             continues through today. It was not until around the very end of 2016 that each of the
             processes listed above was completely divorced of G-Slow jading and functioning soundly
             in their own merit. It took time to develop the highly effective processes that we have
             today but they were, in fact, successfully created. And, where we sit today we are the
             most complete and competent company from a process perspective than we have ever
             been.

             In the paragraph just before the last I stated that it has always been our mission to make
             our clients whole by devoting the majority of our profits to bridging the gap caused by the
             G-Slow fraud. We’ve been able to do exactly that until now. Our ability to pay the high
             rates you were accustomed to was based on the way we underwrote and bought assets
             through the end of 2016. Each was bought and underwritten with an understanding of the
             timeline required to stabilize an asset and optimize its income and the high interest rate
             was funded for that timeline. When a project timeline was extended beyond what our
             underwriting allowed for, we needed to fund the high rate out of current revenue. One of
             the significant impacts of the G-Slow fraud was that it dramatically extended the timeline

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             on many projects. The cumulative impact of that is a debt load that is not sustainable and
             continuing to pay it out of current revenue would lead to an inevitable disaster that would
             put your investment at risk of significant loss. In order to avoid that inevitable disaster and
             return your capital in full and deliver a return on these projects, we have no choice but to
             restructure and reduce the debt burden. We have done all we can to avoid having to take
             this step but avoiding it is no longer an option. Continuing to make the interest payments
             at this point will be at the expense of being able to exit the properties in any reasonable
             timeline and thereby deliver your return of capital.

             As a first step to assuring we get you the best possible outcome in the shortest time
             possible, we require a restructuring of your note payment down to 6%. We will not be able
             to issue you the regularly scheduled interest payment and instead will only be able to
             issue the payment at 6%. We are working on correcting this in the system and will have
             your payment to you on Tuesday. A natural question will be why did we wait until today to
             send this message and the answer is that we were trying every which way to avoid
             sending it at all and have exhausted all possible alternatives. The ultimate goal is to have
             your capital returned in the shortest possible timeline and we are working diligently to
             ensure that happens.

             There is a positive takeaway and that is that we have a very tight underwriting and
             fulfillment process and we are gaining traction with our new Hybrid Fund model in other
             arenas. The mission to build wealth with security in real estate and deliver a full return of
             principal has not changed. Although we were hurt very badly, you received every monthly
             payment throughout this whole process which we hope you have internalized as our
             commitment to shield you from the damage that was done while also fulfilling our main
             mission which was to deliver you an above market rate of return and a return of capital in
             full.

             Thank you for your loyalty and understanding.




                            EquityBuild     5068 W. Plano Pkwy, #300              Plano TX      75093     USA

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  Reymone Randall                               >                                                       Mon, Jun 25, 2018 at 12:14 PM
  To: "Randall, Reymone E" <                                    >

    [Quoted text hidden]



  Randall, Reymone E                                                                                     Mon, Jun 25, 2018 at 3:58 PM
  To:




    From: Reymone Randall [mailto:                        ]
    Sent: Monday, June 25, 2018 12:15 PM
    To: Randall, Reymone E <                                >
    Subject: Re: Urgent Message Regarding Your Interest Payment
    [Quoted text hidden]




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                       EXHIBIT F
7/5/2018                      Reymone,
              Case: 1:18-cv-05587      An important
                                  Document        #:Communication
                                                     5-21 Filed:from Shaun Cohen
                                                                   08/15/18      -
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            Reymone,

            I want you to hear directly from me. Such is the purpose of this email.

            Firstly, I would like to thank you for your trust and patience as we move through this most
            difficult restructure. As with you and yours, the impact is also being felt by all those closest
            to me, including you.

            In recent weeks you have received communications regarding your EquityBuild
            investments. Among those communications you were provided a unique email address
            from which I would compile the most frequently asked questions and address them.

            Among those questions were the following:

            Q: What can I expect in the short-term?

            A: You can expect a member of the EquityBuild team to contact you with the equity model
            as well as the options that are pertinent to your specific situation. I have assembled a
            team whose sole purpose is to assist you through this process and give you the clarity that
            you are looking for. Were it possible, I would be reaching out to you all personally. This
            unfortunately would greatly hamper my ability to effectively run the company to achieve
            the expected outcome. We are making every effort to contact all of you as quickly as
            possible.

            Q: When will I receive my principal?

            A: The specific goal of the restructure is to get your capital returned in the most expedient
            manner possible, while paying returns as the funds permit. We are looking to have a
            50%-60% return of capital within the first 12 months and this will be distributed as
            properties refinance, not simply only at the 12th month. The remainder of your principal is
            to be returned in the following 24 months.

            Q: What is the health of the properties?

            A: The properties themselves are strong and continue to improve month over month.
            During the next 36 months we will be refinancing them all and also looking at selling them.
            I anticipate a full return of your capital as well as a nice return based on project
            performance which we will be striving to optimize. Please rest assured that I am doing
            everything in my power to facilitate this outcome for you.

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7/5/2018                      Reymone,
              Case: 1:18-cv-05587      An important
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                                                     5-21 Filed:from Shaun Cohen
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            Q: Communication has been poor, why is this?

            A: For some, this is merely because they had opted out of EquityBuild emails. A dedicated
            team member has begun to reach out to each investor who had opted- out of email to
            walk you through the process of opting back in so that you will receive your client updates
            as they are distributed to the rest of my clients. Additionally, we have discovered a
            systemic issue that was preventing client update emails from being delivered to some
            email providers. This has been remedied. EquityBuild has resolved to improve our overall
            communications strategy to ensure that you are kept up to date in as expedient a manner
            as possible.

            You have received an email from your representative with a link to their calendar. If you
            have not received that email then please let us know. If you have received it we
            encourage you to use the link which will expedite the process of you receiving a call.

            In closing, it is important to note that we are here to fight this battle with every means at
            our disposal to facilitate the quickest possible return of your capital. I know that all of this
            is quite unwelcome news. My commitment is to all of you and to the entire family of
            Equitybuild investors and we will not stop until we have achieved the desired results for
            you.


            Most Sincerely,

            Shaun Cohen
            President
            EquityBuild Inc.
            info@equitybuild.com
            (877) 978-1869




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              prospective investor all relevant information in order to make an informed decision about an investment. All such information should be

              considered carefully by any prospective investor before making any investment.




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